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Ex. 10A

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Youth Court Case Management System - Overview

e Record all youth intake information, including identifying
information and photos.

e Track all persons associated with the child, including parents,
relatives, attorneys, guardians, case workers, and others.

e Document all allegations and referrals.
Record intake officer's recommendation, and the Court's official
order for each referral.

e Maintain a complete history for each child brought into the
system.

e__ Track custom changes and history.

e Create and track petitions, amended petitions, and petition-
related documents.

e Management of petitions, orders, and docket calendar.
Schedule hearings and other court events.

e Track all hearing information, including attendees, court actions,
summons process, and related documents.

e Case docket to record all significant court actions
chronologically.

e Alert feature that serves as a tickler system for due dates and
deadlines.

e Streamlines the minute book process with the Electronic Minute
Book feature.

e Easily transfer cases between Youth Courts.

e Scan paper documents or attach electronic documents directly
to a case, hearing, or petition.
Generation of petitions, orders, summons, and notices.
Ability to edit generated documents.

e Standard text feature for court specific language that can be
easily inserted into orders.

e Route documents to other users for action or signature.
Digitally sign orders with state-of-the-art, hardware-based
security.

e View documents for any case, any time.

Data and web services are centralized at the Supreme Court.
Securely access data over the internet.

Share case information with other Youth Courts.

Search for cases by youth, mother, father, victim, DHS number,
court specific reference number, or local cause number.

e Secure nightly backup of data and documents, and offsite
storage.

e®@6emhUmehlCtC8

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e Built-in Information Packet lets users easily prepare detailed
reports for any case.
Statistical reports for data analysis.
Reporting for case activity, hearing activity, and referral activity.
Reporting for referral totals, referral code totals, disposition code
totals.

e Reporting for the TPR process.

e Other types of reports.

e Strong, transparent encryption ensures privacy, even when
communicating across the internet.

e Comprehensive user-based security provides exceptional levels
of control.

e System features and data access can be limited on a.court-by-
court basis.

e Source code, database, design, and data own by the State of
Mississippi.
¢ Software development, support, and maintenance by the
Supreme Court/AOC I.T. Department
_ No associated fees or cost

For information on automating your Youth Court program with MYCIDS, contact the Administrative Office of Courts
at 601-354-7451 or the Information Technology Department at 601-359-3709.

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Ex. 10B

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M4YCIDS
2/28/2005

| TePAH

af PANOLA | LAFAYETTE
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OMNI MAN FONTOTOC
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REWER

GREENE

GEGRGE

MYCIDS
sees Current Sites
Proposed Sites

Training Scheduling in Progress

: Demo Scheduled / Scheduling
in Progress

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Ex. 10C

Memo

To: Mike Jones and MYCIDS programming staff

From: Jaworski Davenport

Date: 6/28/2007

Re: Letter of understanding for MYCIDS data files exchange. (Meeting date 12-21-06)

Per the meeting held on December 21, 2006, it is the understanding of DFCS MACWIS staff that the
exchange of data information will begin when DFCS county staff is in the investigation phase of intake.
During this phase of intake, county staff will have received a referral via hotline, phone, walk-in, .
correspondence, court, other. It was further agreed upon that only confirmed information will be sent
over to the MYCIDS system. The following information will have been gathered at intake:

General

Report type

County

Report Source
Report date and time
Intake worker

intake method

VVVVVV

Report Summary
>» Unconfirmedname, age, sex, race, household status and role of people involved in the
report
>» Location information
> Description of maltreatment
Person detail information (when this is completed)

> Confirmed name, age, sex, race, household, household status and role of people involved
> Correct address and phone number

Allegation/living arrangement

> Alleged perpetrator’s relationship to the alleged victim and the maltreatment type
> Living arrangement of the alleged victim.

At this point, the intake will be screened by a worker and sent to a supervisor for final decision. The
supervisor will make the decision if the Intake will become an investigation or not. -

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> If the intake is screened out by the supervisor, the intake will be shut down and no further
action will be required by DFCS.

> If the intake Is screened in for investigation, the investigation will be assigned to a worker for
completion. .

At this point, the worker will conduct interviews with the necessary people Involved to complete the
investigation, This will include gathering information from the family to confirm them under person detail
if this has not been completed already.

Based on the circumstances found during the investigation, a child may come into custody at the onset
of an investigation, if this happens:

> The worker will notify the ASWS of the circumstance

> DFCS will contact youth court Judge or designee

> Custody will be granted

> Worker will recommend continuing services

> ASWS will open case

> Worker will create youth court tracking fo enter court information (milestone)

When this happens, there is still an ongoing investigation and the findings for the investigation has not
been submitted by the worker or approved by the ASWS. Worker will still have thirty days (30) from the
date of the intake to complete and submit the findings for the ASWS to approve.

At this milestone, the youth should be confirmed and valid demographic information regarding the youth
in custody should be available to send to MYCIDS. Information from the general, report summary, and
the allegation living arrangements tabs of the intake will aiso be sent at this time. If the custody start
date (milestone) is entered on the day the youth court tracking is created, the custody start date will
also come over. This will be considered as “new”,

If there is no custody granted or needed during the investigation, the worker will have thirty (30) days to
complete the investigation. When the investigation is completed, worker will create the youth court
tracking (milestone) which will include:

> County

> Court allegation
> Court activity type
>» Judge name

For DFCS and MYCIDS data exchange purposes, the creation of the youth court tracking will be the
milestone to trigger information. it should be noted and reminded that the information that will be shared
will only include intake/investigation information. The information will be limited to the youth ©
demographics, and the demographics of the people included in the Intake plus information from the
general, report summary and the allegation/living arrangements tabs.

if a case is opened after the investigation is completed and the child is taken Into custody at a later
date, when the custody start date is entered (milestone), this will be considered an “update”.

Additional items that were discussed were:
> Mike Jones will send Jaworski Davenport a copy of their updated XML file layout.

> For validation purposes, MACWIS will send youth court tracking number + intake ID number
including an underscore as the MACWIS docket number.

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> All DFCS investigation will be sent over to MYCIDS. it should be understood that all
investigations do not become DFCS cases.

If any information in this memo needs clarification or is found to be in error of the meeting that was held
on December 20, 2006, please inform me as soon as possible.

Thank you for the time and attention that has been put into this effort to make this project a success
and work in the most efficient way.
JTDijtd

CC: Lori Gambreil
Cheryl Joiner

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Ex. 11A

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Median Case Processing Times for Certain Children in Custody for 15 Consecutive Months Ending on
March 14, 2009 in the Four Counties with the Highest Caseloads

Prepared by the Office of the Court Monitor Based on MACWIS Report MWZ0141B

“| Median:Time from
TPR Request Date to i

+: Legally Freéd Date. |: TP s :
. No No 4.7 Years 3.3 Years

[Forrest Cases Cases (n=13) (n=73 Youth) (n=61)
1.2 Years 4 Years 1.4 Years 1.3 Years 1.9 Years

[Harrison (n=12) (n=12) (n=95) (n=95) (n=15)
Iuinds 1.7 Years .6 Years 1.6 Years 1.2 Years 1.9 Years

(n=2) (n=2) (n=59) (n=59) (n=70)
1.3 Years .7 Years 1.8 Years 1.4 Years 2.0 Years

vackson (n=12} (n=12) (n=75) (n=75) (n=66)

“ Four children excluded from analysis because of apparent errors in the data provided.
** Two children excluded from the analysis because of apparent errors in the data provided.
***Unable to determine whether there is a documented ASFA exception in the record.
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Ex. 11B

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County|Forrest

Certain Case Processing Times for Children in Custody for 15 Consecutive Months Ending
on March 14, 2009, by Child* - Forrest County
Prepared by Office of the Court Monitor based on MACWIS Report MWZ0141B

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information identifying children redacted

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TPR Request Made No TPR Request |

|m@Sum of Days from TPR Request To Legally Freed Date or 3/14/09 (if not legally freed) i
iG Sum of f Days from Custody to TPR Request Date or Through 3/14/09 (if no TPR Request was made)

* Four children were excluded from the analysis because of apparent inaccuracies in the data provided.
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Ex. 11C

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County|Harrison

Certain Case Processing Times for Children in Custody for 15 Consecutive Months Ending
on March 14, 2009, by Child - Harrison County
Prepared by Office of the Court Monitor based on MACWIS Report MWZ0141B

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Information identifying children redacted

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TPR Request Made : No TPR Request |

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Zs Sum of Days from TPR Request To Legally Freed Date or 3/14/09 (if not legally freed)
jaSum of Days from Custody to TPR Request Date or Through 3/1 4/09 (if no TPR Request was made)|

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Ex. 11D

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:County|Hinds

Certain Case Processing Times for Children in Custody for 15 Consecutive Months Ending
on March 14, 2009, by Child - Hinds County
Prepared by Office of the Court Monitor based on MACWIS Report MWZ0141B

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‘Sum of Days from Custody to TPR Request Date or Through 3/14/09 (if no TPR Request was made) |

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Ex. 11E

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'County|Jackson.

Certain Case Processing Times for Children in Custody for 15 Consecutive Months Ending
on March 14, 2009, by Child* - Jackson County
Prepared by Office of the Court Monitor based on MACWIS Report MWZ0141B

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Information identifying children redacted

Legally Not Legally Freed

Freed

TPR Request Made

Data

Not Legally Freed

No TPR Request

* Two children were excluded from the analysis because of apparent inaccuracies in the data provided.

Mi Sum of Days from TPR Request To Legally Freed Date or 3/14/09 (if not legally freed) i
GJ Sum of Days from Custody to TPR Request Date or Through 3/14/09 (if no TPR Request was made) i

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Ex. 11F

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Report: MWZ078RB (Listing of Children Currently in Custody with a Conference Date More Than 6 Months Overdue)
Date of 04-04-2009
Region: 2-W
Accordi ng to MACWIS staff AFCARS Elements 22 & 57 indicates Timeliness Errors. Element 22 is the Start Date of Custody compared against the date the
information was entered into MACWIS. #57 is Exit Date of Custody compared against the date the information was entered into MACWIS. The children that remain in
the system who are actually no longer in are being counted on the Custody Contact Report, the Dormant Case Report, Permanency Hearing Report, and
ultimately the Program Improvement Plan (PIP) data which reflect these children who should not be counted as “in custody” at all. Any error hindering the closure of
@ Custody record can be resolved through the MACWIS Help Desk.
Child(ren)'s Name(s) | County | Caseworker/ASWS Cause
According to a 11-06-08 Narrative in MACWIS, this youth is no longer
in agency custody du
Scheduled. The-yeuth's-cuc
EE Washington qu

On the 02-04-09 MACWIS Incident Report it was reported that ! was unable to
remove this case from the workers workload. | did not indicate that | was
unable to and date the custody, because when I looked at the screen | saw a
end date but | did not closely note the date 1 2-20-96. | can add the above
information to the MACWIS Incident report that was sent on 02-04-09 and

resubmit if needed. | have also requested a Heat Ticket Number;

Also this is the same case if you remember that on 02-05-09 you asked me to

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remind you that | had sent a MACWIS Incident because at that time the issue

was active case no ISP.
Thanks!

SE |S

Division of Family and Children's Services

Viedale Washington, Regional Director (Region 2-W)
Mike Gallamo, Performance Improvement Director
MACWIS Unit

Christine Townsend, FCR Program Administrator
Kiki Williams-Butler, FCR

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Ex. 11G

Report:
Date of Report: 04-04
Region: 3-S

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According to MACWIS staff, AFCARS Elements 22 & 57 indicates Timeliness Errors. Element 22 is the Start Date of Custody compared against the date the information was entered into
MACWIS. #57 is Exit Date of Custody compared against the date the information was entered into MACWIS. The children that remain in the system who are actually no longer in
custody are being counted on the Custody Contact Report, the Dormant Case Report, Permanency Hearing Report, and ultimately the Program Improvement Plan (PIP) data which
reflect these children who should not be counted as “in custody” at all. Any error hindering the closure of a custody record can be resolved through the MACWIS Help Desk.

Child(ren)'s Name(s)

County

Caseworker/Reviewer

Cause

Hinds

Custody End Date: The 10-20-08 county conference was canceled by the
Reviewer @@MMB) after being told by county staff that the child is no longer in
agency custody. The county has not end dated the child's custody record in
MACWIS.

Hinds

Custody End Date: The 02-11-09 county conference was canceled by the
Reviewer (QB) after being toid by county staff that the child is no longer
in agency custody. The county has not end dated the child's custody record in
MACWIS.

Hind

Custody End Date: The 01-30-09 county conference was canceled by the
Reviewer (MMMMMB) ) after being told by county staff that the child is no longer
in agency custody. The county has not end dated the child’s custody record in
MACWIS.

Hinds

Worker Not Found gaa?

Custody End Date: The Reviewer was told by the ASWS that the children
are no longer in agency custody and did not schedule a county conference.
The ASWS told the Reviewer there is an eligibility problem that is preventing
them from end dating the custody.

Hinds

Custody End Date: FCR&EEPwas informed by SWS that child
was no longer in custody as of 1126/08. The scheduled conference was
canceled. The child’s custody record has not been end dated in MACWIS by
the county.

Hinds

Transaction Date Error: Child came into custody on 08-01-08 but was not
entered into MACWIS by the county until 03-16-09. A county conference has
now been scheduled for 05-09-09.

Hinds

Custody End Date: The 02-18-09 county conference was canceled by the
Reviewer @§IMEB) ) after being told by county staff that the child is no longer
in agency custody. The county has not end dated the child's custody record in
MACWIS.

Pc: Maggie Mixon, Regional Director (Region 3S)

Mike Gallamo, Performance Improvement Director

MACWIS Unit
Christine Townsend, FCR Program Administrator
Beverly Strong FCR (Hinds)

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Report MWZ078RB (Listing of Children Currently in Custody with a Conference Date More Than 6 Months Overdue)

Date of Report: 04-04-09
Region: 7-East

According to MACWIS staff, AFCARS Elements 22 & 57 indicates Timeliness Errors. Element 22 is the Start Date of Custody compared against the date the
information was entered into MACWIS. #57 is Exit Date of Custody compared against the date the information was entered into MACWIS. The children that remain in
the system who are actually no longer in custody are being counted on the Custody Contact Report, the Dormant Case Report, Permanency Hearing Report, and
ultimately the Program Improvement Plan (PIP) data which reflect these children who should not be counted as “in custody” at all. Any error hindering the closure of
a custody record can be resolved through the MACWIS Help Desk.

Child(ren)’s Name(s) County Caseworker/ASWS Cause

Custody End Date: The scheduled county conference on 12-
04-08 was canceled due to a loss of custody but the county has
not end dated the children’s custody records in MACWIS.
Custody End Date: The scheduled county conference on 02-
10-09 was canceled due to a loss of custody but the county has
not end dated the children’s custody records in MACWIS.
Custody End Date: The scheduled county conference on 02-
23-09 was canceled due to a loss of custody but the county has
not end dated the children’s custody records in MACWIS.
Custody End Date: The scheduled county conference on 02-
23-09 was canceled due to a loss of custody but the county has
not end dated the child’s custody record in MACWIS.
Custody End Date: The scheduled county conference was
canceled due to a loss of custody but the county has not end
dated the children’s custody records in MACWIS.

Jackson

Jackson

Jackson

Jackson

Jackson

Pe: Director of Field Operations
Brenda Wess, Regional Director (Region7-E )
Mike Gallarno, CQI Director
MACWIS Unit
Ann Terrell, FCR
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STATE OF MISSISSIPFI
HALEY REEVES BARBOUR, GOVERNOR
DEPARTMENT OF HUMAN SERVICES

DONALD R. TAYLOR
EXECUTIVE DIRECTOR

BULLETIN: 6115 DIVISION OF FAMILY AND
CHILDREN’S SERVICES

TO: DFCS Deputy Directors
DFCS Unit Directors
DFCS Regional Directors
DFCS Area Social Work Supervisors
DFCS Social Workers Advanced
DFCS Social Workers
oe -mxin-~ DFCS Resource Family Unit (Adoption/Licensure),
DFCS Independent Living Staff :
DFCS Training staff .
. DFCS MACWIS staff
( +) All Volume IV Holders

FROM: Rickie Felder, Director ¢
Division of Family and Children’s Services

DATE: October 29, 2007

"SUBJECT: Final Rule Resource Family/Licensure Policy
Attached is final rule (policy) on Resource Family/Licensure Policy. This policy will replace

Sections F and K of your Volume IV Policy Manual. Please place these pages in the appropriate
sections of your manual (see top tight hand comer of policy pages).

RF: PPWG: ni

Attachment

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Revised November 2007

RESOURCE FAMILY/LICENSURE POLICY

I. MISSION STATEMENT

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Section F
Page 4500

Open Your Heart & Home to a Child: Become Part of a Team to Restore a Family

Ir. INTRODUCTION

The Mississippi Department of Human Services is the designated
social services under Public Law 93-647, Title XX of the Social S,
A, Aid to Familiés with Dependent Children, Title [V B, Child

To achieve this goal the agency has standardized requirements that are child centered
and family focused, requiring “finding a family for cach child, rather than finding a

child for each family”. Through the use of these standards, the agency secks to develop

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Section F (
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INDIAN CHILD WELFARE ACT

All custody issues and placements of children of Native American heritage shall be in
compliance with the Indian Child Welfare Act (ICWA), PL 95-608 and the Indian Self.
Determination and Educational Assistance Act, PL 93-638. These Acts ensure that the

soon as possible after contact is made with the family, either through a report of
abuse/neglect or a referral for services, The Worker shall ask the family the following
questions to gain knowledge in deciding what is in the best interest of the child and
document the discussion in the narrative section of MACWIS,

1. Is parent or child of Native American heritage?

2. Is parent eligible for tribal membership?
3. Ts parent registered with Native American tribe?
4. Is child eligible for tribal membership?
5. Has child been registered with Native American tribe?
6. Does the family live on tribal land?

The Mississippi Band of Choctaw Indians or any other Indian Tribe to which the child
belongs has the right to accept or deny jurisdiction of the said child and to help with
Placement resources. The tribe must be notified of any court hearings involving an
Indian child. Notification is to be provided immediately, by telephone and certified
letter, to the tribe when 2 Choctaw child, or other Indian child, is taken into MDHS
custody. Under Title I Section 101 USC 1911{a), “An Indian tribe shall have
jurisdiction exclusive to any State over any child custody proceeding involving an
Indian child who resides or is domiciled within the reservation of such tribe, except

jurisdiction, notwithstanding the residence or domicile of the child”. Title [ Section 102
USC 1912(b) states “In any involuntary proceeding in a State court, where the court

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knows or has reason to know thst an Indian child is involved, the party seeking the
foster care placement of, or termination of parental rights to, an Indian child shall notify

the parent or Indian custodian and the Indian child's tribe, by registered mail with

return receipt requested, of the pending proceedings and of their right of intervention. If
the identity or location of the parent or Indian custodian and the tribe cannot be
determined, such notice shall be given to the Secretary in like manner, who shall have

The tribal lands of the Mississippi Band of Choctaw Indians are not solely confined to
Neshoba County within Mississippi. The Choctaw reside in eight counties. These

‘counties are Neshoba, Attala, Jones, Kemper, Leake, Newton, Scott and Winston.

Information about children who are determined to be members of a tribe other than
Choctaw shall be shared with the District Wo: » Bureau of Indian Affairs, Eastern
Area Office, Washington, D.C. If the tribe is unknown, the agency shall contact the
Mississippi Band of Choctaw Indians who Is willing to help identify the child’s tribe
and refer appropriately. ,

MULTI-ETHNIC PLACEMENT ACT

The Improving America’s Schools Act (P.L. 103-382) contains the Multi-Ethnic
Placement Act of 1994 (MEPA). An amendment to this act took place as part of the
Small Business Job Protection Act of 1996 (P.L. 104-188) and was known as the
Interethnie Adoption Provisions Act of 1996 (IEP). MEPA-IEP prohibits those agencies
receiving Title IV-E foster care funds from “denying or delaying an individual or

foster parent or child,..”. These factors must, be applied on an individualized basis, not
by general rule in the best interest of the child. The law permits consideration of the
child’s cultural, ethnic and racial background and the capacity of prospective Resource
Parents to meet the needs of a child of this background, but these factors must be
considered in conjunction with other factors relevant to the child's best interest, must
not be used in a manner that delays the placement decision, and must never be the sole
determination for placement. A Resource Specialist or Worker must document all
factors considered in the selection of placement for a child.

MEPA is viewed in conjunction with Title VI of the Civil Rights Act of 1964 which
prohibits recipients of Federal financial assistance from discriminating based on race,
color, or national origin in their programs and activities and from operating their
programs in ways that have the effect of discriminating on the basis of race, color, or
national origin.

MEPA as amended by IEP calls for the diligent recruitment of foster and adoptive
families that reflect the racial and ethnic diversity of children in foster care. To comply
with this, MDHS shall focus its recruitment process on developing a pool of potential
Resource Families who are willing and able to foster or adopt the children needing

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placement. To accomplish this, recruitment shall be both general and targeted. All

members of the community should be

setting available and in close proximity to the parents’
interests and special needs of the child. Therefore,
child within a 50 mile radius from his original
adoption, consistent with the child’s best interest and special needs.

sseminated to targeted
&s religious. institutions,
medical facilities,
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Revised November 2007

IV. RECRUITMENT OF RESOURCE FAMILIES

Recruitment Methodologies include but are not limited to:

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Section F

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1. Use of media, including the intemet, to create & positive perception of the

- Engaging existing Resource Families 88 part of the recruitment process:

3

4. Engaging the faith community;

5. Engaging the business community;
6. Engaging existing agency steff
7.
8

; Working closely with a child or hiv/her family to j

already connected to the child by kinship or other
. Use of recruitment packets,’

dentify a family resource
established relationship:

Section 43-15-13(2) of the Mississippi Code states “The Department of Human
® Services shall establish a foster care placement Program for children whose custody lies
with the department, with the following objectives: (a) Protecting and Promoting the

Preventin,

protection specialist, in cases where restoration to the biological family

possible or appropriate; (8) Assuring safe and adequate care of children away from their

specialists or workers for a family and child throughout the implementation of the
permanent living arrangement plan. Wherever feasible, the same family protection
Specialist or worker or team shall retpain On the case until the child is no longer under

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Rectuitment activities are regionally based and will be reflective of the necds f each
region. Each region wilt develop a recruitm ent plan that will be reviewed and modified
quarterly as needed,

In addition, Resource Famity Placement Committee meetings will be held on regi
and statewide basis to identify the need for child specific Tecrui eld on a regional
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V. INQUIRY

The inquiry is the first contact a prospective applicant has with the agency requesting
information about resource licensing. This inquiry can be in person, by telephone, or by
mail.

The designated intake person or other appropriate staff will list basic contact

information, including address and daytime phone number, &2 on MACWIS Inquiry

screen and submit the information to the appropriate Resource Family ASWS who will

@ assign the inquiry to the appropriate Resource Family Protection Specialist (Resource
Specialist).

A Standard Packet of Information shall be provided to all inquiries in person or by mail
within 48 hours of inquiry call. This packet will assist prospective resource families in
making an informed choice regarding their potential to provide care.

The information in the packet will include:
1. Letter from the Executive Director
2. Brochures
3. Introduction to Agency Requirements
4. Pre-service Training Schedule
5. A Profile of Children Entering Care

The Resource Specialist will generate a letter through &l MACWIS to the prospective
Resource Family inviting them to the pre-service training in their area. if no response is
received, two additional letters for the next two pre-service trainings will be mailed
before the inquiry is closed. In an effort to ensure that as many families come to pre-
service training as possible, the prospective Resource Family will be contacted by a
Resource Specialist prior to closing the inquiry. .

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is valid for a period of 24 months, Experienced licensed Resource Families function as
So naers‘eaders in the training process. Trainers may conduct up to 8 howe of
training within any 24 hour period.

The applicants are issued a “Mississippi PATH Participant’s Handbook that focuses on
the following areas,
Content areas of the “Participant’s Handbook” include:

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3. Permanent Connections (Woven into this module is support of kinship
caregivers and the TPR Process).

Because the agency believes in the importance of support groups and the benefit they
provide, all prospective Resource Families are encouraged to attend one Support group
mecting during the application period.

Refer to Volume IV, Section F, VII for in-service taining policy.

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VU. ELIGIBILITY REQUIREMENTS FOR HOME STUDY APPROVAL

The Mississippt Code, Section 43-15-13(12) requires licensed resource parents to be

responsible for the following:
“{a) Understanding the [agency's] function in regard to the foster care program and
related social service programs; (b) Sharing with the (agency) any information
which may contribute to the care of foster children; (¢) Functioning within the
established goals and objectives to improve the general welfare of the foster
child; (d) Recognizing the problems in {resource] home placement that will require
professional advice and assistance and that such help should be utilized to its full
potential; (c) Recognizing tht the [resource] family will be one of the primary
resources for preparing a child for any future plans that are made, including return
to birth parent(s), termination of parental rights or [long term foster care}; (1)

conducted by 2 court of competent jurisdiction, or providing their recommendations
@ to the court in writing.”

The purpose of the Home Saudy is to provide potential Resource Families with
assistance in clarifying their ideas/feelings about the single application resource
licensing and their ability 10 meet the special needs of children tequiring MDHS
custody. Additionally the intent is to:

1. Provide the agency with information necessary to decide if applicants meet the
standards.

2. Provide the applicant/s with information to assist them during and after
placement.

3. Provide the agency information to assist in making an appropriate placement

decisions.

The agency shall consider providing a person/s with a Resource Family license when
the following requirements are met:

A. Residence
The applicant/s must show proof of being a U.S. citizen and a resident of
Mississippi.

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B. Age

D.

The applicant/s must be at least 21 years of age.

Relationship Status

Married applicants must verify that they have been legally married for at least two
years. Current and previous marriages and divorces mrust be verified. Applicants
cannot have unrelated adults living in the home.

Resource Parents who have foster children placed in their home may, at times,
experience separation or divorce. When this occurs, the County Worker and/or
Resource Specialist must evaluate their circumstances to determine whether or not

but no additional children will be placed in the home until an assessment by the @ ( ~

Resource Specialist shows that the family has had an adequate period of adjustment.

Health of Resource Family

The applicants shall possess competent physical, cognitive, mental and emotional!
capacities with reasonable life expectancy that is anticipated to continue through the
minority of the child. DFCS may request the applicant/s or other household
members to provide additional medical, mental health, or substance abuse
evaluations. The Resource Family (which includes the applicant and all household
members) must provide a statement from a treating physician or mental health
therapist, if being treated for any physical or mental fealth condition, which may
preclude compliance with licensing requirements.

The Resource Family applicant/s must provide s signed and dated statement, from a
licensed medical practitioner who shall have examined the Person within six months
prior to the date of the application, and which shail:
1, Include a description of the general health of the applicant and identify
any medical problem or physical condition that will prevent or limit the
person from caring for a foster child, or that may negatively impact a foster
child;
2. Include a list of all regularly prescribed medications and the purpose of
each medication.
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3 The applicant must attend to the health of children. No children with respiratory

issues will be placed in 2 home where any member of the Resource Family smokes,
even if they do not smoke “inside the home”. Children in MDHS custody who are
placed in a Resource home or other placement setting should not be subjected to
second-hand smoke.

E. Criminal History and Clearance
Any applicant or household member who has 2 criminal history of conviction or
pending indictment of a crime, whether a misdemeanor or ¢ felony, that bears upon

not limited to, child abuse or neglect, spousal abnse, crimes against children
(including child Pomography), crimes involving violence which includes rape,

Any applicant shell be fingerprinted by local law enforcement and such fingerprints
shall be forwarded to the Department of Public Safety. If no disqualifying record is

F. References
The epplicant/s shall supply four character references to the Resource Specialist.
Only one of these four references may be a relative to the applicant/s, In addition to
these four character references, each applicant shall supply employment validation
for the last five years they were employed.

G, Finances
The applicant must be financially self-sufficient and shall have a household income,
exclusive of the foster care maintenance payment, to meet the needs of the
Resource Family, which includes their own children and other household members
in accordance with the current guidelines of the Mississippi Department of Human
Services, Division of Economic Assistance,

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. H. Employment

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—s

During the home study process, staff will discuss with the Resource Family .

applicant/s their plans related to employment and their willingness and ability to

determined by agency.

A Resource Family applicant/s shall not:

1. Conduct home business activities that prevent the applicant from caring
for a child in accordance with licensing requirements. If an applicant is
self-employed, or conducts a business activity within the home, the
applicant shall provide a statement explaining how the activities related to
this business wil] not interfere with care of a foster child.

2. Provide personal or foster care services in the home for unrelated adults,

3. Resource Parents who operate licensed child care services from their
homes (for children not placed in their home by MDHS) are subject to the
policies of the Mississippi Department of Health. A Resource Parent
operating a child care business from their home may not receive payment
from another source for providing child care for a foster child placed in
their home by DFCS and for whom they are: receiving, or expect to
receive, a board payment.

Parenting Abilities :
The applicant/s must have knowledge and understanding of: (1) the type of children
needing placement, (2) child development, (3) separation, loss, and attachment
issues, and (4) appropriate child behavior management practice. The applicant must
be able to protect children from harm, give and receive appropriate affection and
have the ability to maintain the child's permanent connections. The applicant/s must
also have the willingness and ability to commit the time necessary to provide
supervision and guidance. At least one parent in the home must be able to assist a
child with checking homework assignments and giving help as needed with their
homework.

Aduait-Child Rattos

The Resource Parent/s shall provide foster care for no more than six (6) foster
children in their home at any given time. There shall be no more than two teen
parents or pregnant teens in the home, The parent/s shall care for no more than cight
(8) children 18 years of age and under, including the Resource Parents own
biological or adopted children. The home shall have no more than (2) children age 2
and under unless placement of a sibling group is required and the licensed home has
adequate bed space. In such case, a waiver shall be requested by the Resource
Specialist.
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® K. Pets

All domesticated animals must have all shots up to date and proof of these shots.
Applicants shall not have any animal in the home that poses a threat or health
hazard,

L. Transportation
Resource familics must be able to provide transportation for children in care. As
such, at least one Resource Parent must possess a valid driver's license, proof of
vehicle insurance or access to public transportation.

At all times children in MDHS custody who are in a car must be cither in a car seat
or must wear a seat belt according to Mississippi law.

M. Home Environment
1. General Safety

a. The Resource Families home shal! be well hested and well ventilated.

b. Atall times, the home shall have 2 working telephone, mobile or landline.

C The home shall be safeguarded, inside and outside, against hazardous
chemicals, cleaning materials, toxic substances, hazardous objects and
equipment, medications, and firearms.

d. The home and premises shall be free of rodents and insects.

8 e. A home shall not rely on portable space heaters as the sole source of heat
and shal] not use such space heaters during sleeping hours. The home’s
fireplaces, floor furnaces, freestanding stoves and open-faced heaters shall
be screened or otherwise adequately guarded.

f. The home shall have protective covers for all electrical outlets in use in all
areas occupied by children age 6 and under or any mentally challenged
child.

g The homes outside play area should be maintained clean and free of
hazards to the health and physical well being of the family.

h. The Resource Family's home shall have a continuous supply of clean
drinking water. If the water is not from a city or community water supply,
the Resource Parent/s shall provide evidence that a state or local health
authority has approved the water system.

i, All licensed homes must have a functional sewage system.

j. The home shall have interior plumbing with rmning warm and cold water.

2. Fire Safety and Prevention
a. Smoke detectors: The Resource Family home shall have at least one single
station operable smoke detector approved by a nationally recognized
testing laboratory in the home (1) in each living area in a multiple-story
dwelling and (2) located in close proximity to the sleeping area, If the
house floor plan has separate sleeping areas, one smoke detector should be
located in each sleeping area.

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leas than 3000 Square feet, at least one 2-a, 5-pound, or equivatent, fire

extinguisher of the ABC type (usually red in color) shall be (1) located

near an exit door of the kitchen, (2) on each level of 2 multiple story

dwelling, and (3) readily visible and accessible according to fire code for
area.

3. Emergencies, Exits and Evacuation

a

d.

A Resource Family home shall have visible a written pian and procedure

pousehold members and persons who care for a foster child in the vena
home shall give each foster child an age appropriate explanation of the
emergency and evacuation pian. They shall ensure that the foster child can
follow the plan in the event of a fire, emergency or natural disaster, This
shall be done within 48 hours after the foster child has been placed in their

A window can serve as a second exit only if: (1) it is accessible to children
and caregivers; (2) kt can be readily opened; and (3) it is a size and design
which permits a child Of caregiver to pass through it. If the licensed home
has an occupied second story, & retractable ladder shall be available for the
windows.

There is an emergency release mechanism installed and maintained on
windows with security bars or devices,

4. Interior Facility
The home shal! be safe and sanitary, Kitchens, bathrooms and bedrooms are
discussed in detail:

a.

Kitchen: The Resource Family home shall have a kitchen that is equipped
for safe and sanitary p ion, serving and Storage of food and shall
have an operablé refrigerator, stove and oven,

Bathrooms: The home shall have at least one flush toilet, one wash basin,

provide safe sleeping arrangements which accommodate the privacy needs
of a foster child as prescribed in this section:
i, The bedrooms shall have a finished ceiling, floor-to-ceiling

another bedroom.
iii. All bedrooms shail have doors which can be Opened and closed.
iv. No more than four children shal) share ¢ bedroorn.

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v. The Resource Family shall provide each foster child with a standard
bed appropriate to the child's age and needs. A standard bed does not
mean & cot, couch, convertible couch, portable bed, sleeping beg or
mat,

No foster child shall sleep in a bunk bed of more than two tiers.
Only foster children age 7 and above shall sleep in the top bunk of
the two tier bunk bed and shall have access to a ladder and
protective railing on all open sides. ,
Each child shall have his or her own bed and a place for their own
belongings with ons exception: two siblings of the same sex may
share @ full sized bed or larger, if documented as appropriate in
each child's case record,

- Children under 18 months of age shull sleep in a crib. Children

who are 18 months or older and developmentally delayed shall
sleep in a bed that is appropriate to the child's age and needs.
When the child is old enough to move from « crib to a regular bed,
there must be an available bed for the child in the licensed home.
Children over 18 months of age shall not sleep in the same room
with an adult who has reached his or her 21” birthday. An
exception will be allowed when it has been documented that a
child has severe physical or emotional handicap that requires close
attention and monitoring by the resource parent.

Children over the age of 3 years shal! not share a room with a child
of the opposite gender. .
Notwithstanding any other provision of this section, a foster child
who is a minor parent may share a room with her own child.

A foster child shall be provided with: a sanitary mattress, a clean
Pillow, clean bed linens, blankets or covers as appropriate to the
weather, a waterproof protective mattress cover, as needed,
separate and accessible drawer space for personal belongings and
sufficient closet space.

§, Exterior Environment
a. The play area shall be fenced if there are conditions which may pose a
danger to a child playing outside. The age and developmental abilities of
the child are considerations for determining risk to the child.
b. There must be safety measures for a swimming poo! or any body of water
located at or near the resource family home.

1. The home shall have safety floatation devices available.

2. Life saving equipment and devices shall be visible, readily
accessible, in good repair and ready for immediate use,

3. A Resource Parent shall supervise a child who is in the
swimming pool or near the body of water in accordance to the
child's age, capabilities, and developmental level.

4. At least one Resource Parent who is currently certified in

cardiopulmonary resuscitation (CPR) shall be present in the

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swimming pool area or near the body of
child age 12 and under is in the area. ye Naler when a foster

The Home Study shall be completed within sixty (60) days after the Resource Family

Safe and Timely Interstate Placements for Foster Children,
: a . 42 USC 1305, states
ee sini «(lor an rooming ICPC home study Tequest) has 60 days to monde.
f ly requesting state. These studies can be foster. ad ti
refative or non-relative homes. Mississippi adopted the policy, through Bulletin 46056

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Vill. APPROVAL PROCESS

After completion of pre-service training and all forms have been received at the last
session of that training along with submission of the completed home study, the
Resource Family staff will generate a Notice of Action letter fl from MACWIS. The
letter is sent to the applicants stating the action taken regarding approval of their home.
A copy of the letter will be sent to the Resource Specialist who completed the home
study. A copy of the applicants’ signed contractual agrecment will be maintained in the
file.

If children within the approved licensing age and gender range are offered for
placement into their home, but the applicant never agrees to accept a child over a three
year period, the home will be closed. The County of Responsibility (COR) Worker will
need to log these placement requests and refusals into ld Placement Screen, Rejection
Tab in MACWIS.

Denial af ars Application

An application may be denied at any point during the Inquiry, Application Process, or
Home Study. The Resource Specialist shall determine if an applicant does or does not
meet licensing requirements or is not appropriate for the care of foster children. Even
though an applicant may meet the physical requirements of the licensing process, the
professional judgment of the agency staff shall be utilized in making a determination
for licensure. Although licensed homes are needed for the care of children, ‘it ig not the
agency’s intent for placement decisions to cause additional pain or wauma for the child
of the applicants, When a decision is made to deny an applicant:

. The Resource Specialist shall discuss the reason for denial with the Resource Family

ASWS.

. The Resource Specialist shall discuss with the applicant the reason for denial.
- Aclosing summary shall be filed in the electronic and paper file indicating reason(s)

for denial.

. A Notice of Action (MDHS-SS-432) shall be completed and submitted to the Resource

Family ASWS for denial.

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IX. ONGOING IN-SERVICE TRAINING

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Training certificates, letters or verification of training shall be provided to each

Resource Parent for each training session attended. Reso
to remain in the entire training session to be eligible to

to beginning the training,

lurce Parents shall be required
receive a certificate or letter.

Certificates of the training provided by the support groups will be signed by the
agency providing the training or by 2 representative of the Resource Family

Program.

B. Specialized Hontes for Medically Fragile Children

A licensed Resource Family Home, specializing in medically fragile children shall
comply with all foster home requirements as well as the following conditions:

1. Provide a specialized license, degree, certification, training or
experience that documents and demonstrates an expertise to work with
children with special medical/treatment needs, (i.e, doctor, registered
nurse, licensed practical nurse, emergency medical technician, special
education teacher, clinical therapist, etc);

2. Demonstrate the ability to care for children with special needs such as

feeding tubes, heart monitors, oxygen, fetal alcohol syndrome, cerebral
palsy, diabetes, diagnosed emotional or behavioral illnesses or disorders,

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® 3. Verify additional 8 hours of specialized training by a certified provider.

The additional hours need to include CPR training as well as first aid;

- 4. Agree to be licensed for no more than two special care foster children at
any given time. Waivers for placement of more than two special care
foster children may be considered in cases of sibling groups or other
extraordinary circumstances, Waiver request must be submitted to the
Resource Pamily ASWS for approval prior to any placement. If the
specialized home is caring for the siblings of a medically fragile child,
these siblings will not receive the special care board rate unless they
have also been certified as eligible for that benefis,

5. Understand that medical/treatment Resource Parents shall provide
transportation and accompany the special care foster child to all school,
treatment, and medical appointments, ss well as ensuring that any
follow-up visits are kept:

6. Agree to stay in the hospital with a special care child placed in their
home should the child be hospitalized;

7. Maintain a child’s important records, including medical documents,
immunization records, and a health journal for each special care foster
child placed in their home;

8. Maintain adequate school/educational records on each special care foster

®@ child placed in their home;

9. Participate as a member of the service team through at least one of the
following methods:

a. Personal attendance at team meetings.
b. Telephonic conference calls.

c. Provision of a written report on the child’s progress including any
recommendations for service.

C. Special Provisions for Teenage Parent Foster Home

A Resource Parent may seek and obtain a license for up to two (2) foster children
who are pregnant or foster children who have parental responsibilities for their own
child. The teenager's child may or may not be in agency’s custody, This Resource
Parent shall comply with all Resource Home licensure requirements including the
following:

1. An additional $ hours of specialized training from a professional
provider who is an authority on teenage parents. These 8 hours will
inchude:

a. Parenting the Teenage Parent (2 Hours)
i. Setting Boundaries
ii, Appropriate House Rules/Expectations
iii. | Contracting and Consequences

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iv. | Communicating with Teens

b. Teaching the Teen to Parent (4 Hours)

i. Teaching Financial Responsibilities
if. Teaching Parental Sacrifices
iii, | Teaching the Roles of a Parent
iv. Teaching Values
v. Teaching Child Growth and Development
vi. Teaching appropriate discipline
vii. Teaching Communication
c. Transitioning to independence (2 Hours)
i. Training with the Independent Living Specialist to
receive Independent Living curriculum.
ii. Overview of the Independent Living Services

Agree to foster no more than two teenage parents at any given time.
Waivers for placement of mote than two teenage parents may be
considered in cases of sibling groups or other extraordinary
circumstances. Waiver request must be submitted to the Resource
Family ASWS for approval prior to any placement;
Agree to provide transportation, accompany and support the teenage
parent(s) in meeting parental responsibilities for their children including
child care/day care, school enrollment or Toeetings, treatment or medical
appointments, and other services based on the teenage parent(s)or
child’s needs;
Assist pregnant teenagers residing the Resource Family home with
arrangement for pre-natal care, doctor appointments, follow-up medical
visits and hospital arrangement for delivery in coordination with the
COR Worker, :
Model appropriate parenting methods for the teenage parent(s) and work
with the teenage parent(s) to adequately care for and nurture the
child/children:
Teach and assist the teenage parent(s) in obtaining and maintaining
documentation and important records, including but not
limited to: birth records, medical documents, immunization records, and
other relevant information for both the parent and child;
Demonstrate the ability not to undermine the teenage parent’s care for
their child, nor initiate any legal proceedings (i.e.- termination of
parental rights or adoption proceedings) involving the teenage parent's
child without official authorization from DFCS;
Participate as a member of the service team through at least one of the
following methods:

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@ 4. Personal attendance at Family Team Meetings County Conferences,
Court Reviews, ete.

b. Telephonic conference calls.

c. Provision of a written report on the teenage parent’s and child’s
progress including any recommendation for service.

The Resource Specialist must upgrade the license status of each specialized home.
During the three year re-evaluation period, these families must receive a total of
23 hours of in-service training. A minimum of eight (8) of these hours will be
participation in the Independent Living Program with the teen parent.

If the Resource Parents have exceeded the required number of in-service training
hours, the Resource Specialists’ documentation shall reflect the actual hours.

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X. RETENTION

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The Resource Specialist will be Tesponsible for maintaining monthly contact for

Family home is without placement of a child. Documentation of this monthly contact

shall be included in the Resource Family’

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@ XI. LICENSE CHANGES

Any changes that occur between recertification periods must be reported to the
licensing staff for the purpose of review but a new license will not be issued. Items that
require review Include:

A. Resource Family Relocation: Change in Address/Relocation/Physical Site

B. Change in Number/Type of Children

C. Change in Marital Status

D. Death/Change in Household Members

B. Hurricane, Tomado and Other Disaster

A. Resource Family Relocation

If the Resource Family moves, a description of the new home, including sleeping
and play space, fire extinguisher and smoke alarm, and an explanation of sanitation
conditions, including approval of the water and sewage disposal systems, if
applicable, shall be requiced within sixty (60) days of the move.

approval/disapproval.
@ The Resource Family home case record in MACWIS and the paper file shall then
be transferred to the new county of residence following Administrative Procedures.

Since the Resource Family home update shalt be required within 60 days of the
move, it shall be important for the Resource home case record to be transferred in a
timely manner,

B. Licensure Change in Number/Types of Children

If the license change request is for a change in the number of children, an outline of
sleeping arrangements and discussion of the family's physical and emotional
capacity for additional children shall be required on the appropriate screen in
MACWIS. The Resource Family ASWS has the authority to approve this request
when no waiver of licensing requirements is involved. Children under age 18
months shall have a baby bed or crib for sleeping. Changes with waivers involved
must go to the Regional Director for approvai after approval by the Resource
Family ASWS,

C. Licensure Change in Marita] Status

If a Resource Parent marries, remarries, or divorces, it shail be necessary to
document these changes and to discuss the results of the interviews with the

Resource Parent in an updated home study.

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Within one year of a new marriage, the new spouse shall complete the pre-service ®
training. If relocation occurs because of the marriage or divorce, the designated
Resource Specialist shall also include data relating to the new home. The change

will be documented and routed in the manner described in Section XI, A.

D. Death/Change in Household
If one of the Resource Parents dies, it will be necessary to discuss with the
widow/widower what services they may need es a result of this loss.

Complete the appropriate screens El in MACWIS to remove the deceased person
from the case. The change will be documented and routed in the manner described
in Section XI, A.

E. Policy Exceptions Related to a Disaster

All Workers must consider permanency versus safety. In a disaster, safety comes
first and Resource Specialists must make sure the child is not at risk for harm if
placed in a Resource Family home. Some exceptions to the Resource Family’s
home may not be ideal but will only be temporary until safety hazards from the
disaster no longer exist. If the Resource Family is due for license renewal and has
not received all their in-service training, their home will be re-licensed for one year
in which time the family shall complete their training. Exceptions to a disaster @ oa
include: ( i
1. Worker will use guidelines from Section XI, A. Resource Family
Relocation as well as the same time frame.
2. The Resource Family Program will allow the family to live in temporary
housing such as tents, Quonset Huts, temporary housing provided by
FEMA and other approved shelters, if a resource farnily loses their home in
a disaster, There may also be situations that the family will move in with
friends and family, whose homes were not destroyed. This should be
reviewed on a case by case basis The agency will accept the Corp of
Engineers’ approval of the temporary homes’ sewage and water.
3. Background checks through law enforcement and DHS records will be
. conducted on ail related or non-related adults in the home.
4. The Resource Family Program will not allow a child to steep with an adult.
5. The Resource Specialist will physically observe the temporary home and
obtain information about the family’s sleeping arrangements. If bed space
is limited, allowance will be made for mattresses, inflatable beds, cots, etc.
to be used as alternative sleeping arrangements. In camper-like FEMA
temporary housing, floor space is very limited. If these temporary beds are
used, some floor space must be usable for easy passage around the housing.
6. The agency will make every effort to contact the authorities to request
FEMA housing that is adequate for the size of the family.
7. The Federal Agency authorizing the use of FEMA temporary housing,
dictates standards with which the user must comply. If licensed families are DQ

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ad residing in FEMA temporary housing, they must ‘comply with these
standards of this federal agency whose staff make monthly inspections of
the housing.

8. The agency will make every effort to work with the family to alleviate
problems if conditions of the licensed family’s home are unsafe or not up to
standards. The agency's purpose is to provide safety to the child.

9. The Regional Director, Placement Director and/or Division Director may
consider a waiver on any other problems that arise as a result of a disaster.

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XII. CLOSURES

The following list is not inclusive, but these are areas which shall be considered as
possible reasons for closure and/or revocation of the license:

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3.

The family requests that their home be closed.
The family moves out of state.

The family refuses to cooperate with the regulations and policies of the DFCS,
such as failure to cooperate with the implementation of the permanent plan for
the child

The family fails to report changes regarding household members, such as an
adult child or family member moves into the home, separation from a spouse,
marriage or divorce,

The family cannot or will not take action to mect agency licensing
requirements,

There is an evidenced report of physical, sexual or emotional abuse or neglect g mn,
of a child, ( }

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XIII. RE-LICENSING A CLOSED RESOURCE FAMILY HOME

Whenever a previously licensed Resource Family decides to reapply, use the following
procedures:
A. Licensure Closed Less Than One Year
The Resource Specialist must update the home study on homes closed less than one
year and include a brief description of reasons the Resource Parents left the
program as well as reasons they decided to reapply. Provide details of changes in
the family and secure appropriate verifications required as a result of any changes.
The following shall be forwarded to Resource Family Program:
1. One copy of verifications of training for each Resource Parent.
2. Form MDHS-SS-4404, Physical Examination of Adoptive/Foster Applicant -
medical update and any other medical or psychological tests recommended by
a licensed medical practitioner, shall be required for each applicant only if the
previous medical or other recommended tests have expired, or if the applicant
earlier withdrew from the program for medical or psychological reasons.
3. Form MDHS-SS-457, Contract for Designation of Foster Home
4, Form MDHS-SS-457A, Affirmation of Understanding Regarding MDHS
Policy Forbidding the Use of Corporal Punishment by Foster Parents.

@ B. Licensure Closed Over One Year but Less than Three Years

If the home has been closed more than one year but less than three years, complete
the items below:

1. Resource Family must demonstrate receipt of 15 hours of in-service training
and copy of verifications, The Resource Specialist will update: training
information in MACWIS.

New application for a Home Study/Single Application License in MACWIS.

3. Form MDHS-SS-4404, Physical Examination and any other medical or
psychological tests recommended by a licensed medical practitioner shall be
required for each applicant only if the previous reports have expired or if
applicant carlier withdrew from the program for medical or psychological
reasons.

4. Form MDHS-SS-457, Contract for Designation of Foster Home.

5. Form MDHS-SS-457A, Affirmation of Understanding Regarding DHS Policy
Forbidding the Use of Corporal Punishment by Foster Parents.

6. An updated Physical Home Environment shall te completed and a narrative
done in MACWIS,

7. When visiting the home the Resource Specialist will specifically discuss the
reasons the Resource Parents left the program and the reason for re-

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application.
8. If the Resource Family has relocated, a current sanitation inspection by the
@ Resource Specialist shall be required for homes not connected to an approved

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water or sewage system. All other items in the study guide may be omitted
unless there have been changes.

C. Licensure Closed Over Three Years
The initial Resource Family home licensing procedures shall be followed.

D. Unapproved or Unlicensed Relative Homes or Unaltowable Facility

Administrative costs associated with an otherwise eligible child who is in an
unallowable facility or an unapproved or unlicensed relative home, and who is
removed in accordance with section 472(a) from the home of 2 relative specified in
section 406(a) (as in effect on July 16, 1996), shall be considered for expenditures:

1. for a period of not more than the lesser of 12 (twelve) months or the
average length of time it takes for the State to license or approve a home as
a foster home, in which the child is in the home of a relative and an
application is pending for licensing or approval of the home of a foster
family home; or

2. for a period of not more than I (one) calendar month when a child moves

from a facility not eligible for payments under this part into 2 foster family
home or child care institution licensed or approved by the State. ®@ ( a
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3 XIV. RECERTIFICATION

The recestification process will occur every three years. Section 43-15-13 (6) requires
licensed families to have a minimum of twelve (clock) hours of training. The agency is
requiring all resource families to have 15 hours of training (5 hours per year) in order to
be recertified. The expiration date following a reevaluation of a foster home license
shall be on the last day of the month in which the home was originally licensed.

The recertification process will include:

1. Documentation of a complete medical examination (may use MDHS-SS-
4404) current within one year of recertification, on both parents, if a two
parent home;

2. Current Background Check (for all adults living in the home) In addition
MACWIS and case records should be checked under the foster home name
as well as the names of children in the home to determine if there have been
any child abuse or neglect investigations that were not entered into the
central registry. These records checks shal! also be documented in the
recertification package;

3. Home Visit by the Resource Specialist;
. a. Review physical environment for safety issues including septic and
water systems
@ Discuss issues and concerns in providing care
Income verification
Check smoke detectors and fire extinguishers

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Sign “Forbidding Corporal Punishment” (MDHS-SS-457A) agreement;

Verification of in-service training;

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6. Verify pet vaccinations;

Obtain law enforcement check;
8. Provide copy of current Driver’s License and auto insurance;
9. Provide updated emergency plan.

Waivers to Licensing Requirements at Time of Reevaluation

Approval of Resource Family homes where waivers to the licensing requirements are
necessary shall be given only by the State Licensing Authority.

For licensed Resource Family homes, the Resource Specialist shall complete the
necessaryfad MACWIS screens, This will include the Waiver Request Screen on

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which the Resource Specialist shall write an explanation/ justification which shall
contain a clear statement of the waiver and 4 time frame for correcting the problem.

After reviewing the explanation/justification, the Resource Family ASWS shall make
a recommendation regarding the request for a waiver of requirements and shal] route
the request to the Regional Director for a decision.

The Regional Director will approve or disapprove the waiver and the Resource
Family ASWS shail be notified lel in MACWIS, The Resource Specialist shal! also
be notified by MACWIS. When the Resource Specialist receives the notice of
approval/disapproval in MACWIS, a Notice of Action shall be sent to the Resource
Family indicating the terms of the license.
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XV. ALLEGATIONS OF ABUSE AND NEGLECT OR LICENSING
VIOLATIONS

See the flow chart in the practice guide that depicts this process.
Specifically:

1. The Regional Director will assign a Worker from another county to conduct
the investigation.

2. The Resource Specialist and Resource Family ASWS will be notified of the
seport and may accompany the investigating Worker, at his/her request, to the
Resource home.

4. The Resource Specialist will provide Support to the Resource Family during
the time that the investigation is being conducted, but may not discuss the

5. The investigating Worker will inform the Resource Family that the allegation
" has occurred and the nature of the alleged abuse or neglect.

Upon completion of the investigation:

1, The Regional Director shall notify the Resource Family in writing of the
investigation findings, and whether any rules have been violated.

2. The letter will be copied to the Resource Family ASWS and State Office
Licensing Authority.

3. The Resource Family Program will support the Resource Family and provide
in-person explanation regarding the current status of the license.

4. Licensing actions are based on findings.

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XVI. LICENSURE APPEAL PROCESS

In the event an application for licensure or renewal of a license is denied, or a license is
suspended or revoked, the aggrieved party may request an administrative hearing. The
appeal process is as follows:

The aggrieved party may file an appeal by submitting in writing a request for an
administrative hearing to the Division Director of Family and Children’s Services
within ten (10) working days of reccipt of the written notification of licensure action.

When an appeal is filed by the aggrieved party, the Resource Specialist shall follow the
policy and procedures as stated in MDHS Policy Manual, Volume IV.

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XVII. CURRENT RESOURCE FAMILY ADOPTION
The Resource Specialist is responsible for obtaining and submitting the MDHS-form-
471, Foster Parent Application to Adopt a Particular Foster Child. The Form 471 can be
completed when the child has been freed for adoption and has resided in the resource
home six (6) months or more,

A Contingency Plan is developed so the Adoptive parents can designate an individual
or individuals to care for the child in case of death or disability of the Adoptive
parent/s.

An adoption discussion must be documented in the narrative screen fl in MACWIS.
The time the child has been In the Resource home under supervision of the County
Worker will count as the supervisory period.

If the Resource Family does not follow through with the finalization in a timely
manner, the Resource Family Program wil} initiate recruitment efforts for an Adoptive
home for the child.

The Resource Family Program will provide written approval and instructions to the
Resource Parents as to how to proceed with the adoption. They will also be instructed
to submit @ copy of the Final Decree of Adoption so the adoption case can be closed.

1. When the Final Decree of Adoption is received in the Placement Unit, a letter
will be sent to the County of Responsibility requesting the closed county case
8 be sent to the Resource Family Program.

2. DFCS shall maintain records.
The case is then closed fl in MACWIS

Section 93-17-207(1\(2) of the Mississippi Code states that MDHS “shall release non-
identifying information, for a reasonable fee, including the actual cost of reproduction,
to any of the following persons upon request made with sufficient proof of identity:

1. An adoptee cighteen (18) years of age or older;

2. An adoptive parent;

3. The guardian or legal custodian of an adoptee;

4. The offspring or blood sibling of an adoptes if the requester is eighteen (18)
years of age or older.”

It also states in the section that “information released pursuant to subsection (1) of this
section shall not include the name and address of the birth parent, the identity of any
provider of health care to the adoptve or to the birth parent and any other information
which might reasonably lead to the discovery of the identity of either birth parent”.

It is permissible to release the age of the parents and non-identifying medical
information.

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XVIH. RECRUITMENT OF A NEW RESOURCE FAMILY FOR

ADOPTION

If the current Resource Family is unable and/or unwilling to adopt, the Resource
Family Program shall search for a permanent placement for the child, The information
on the child that exists in the records as well as interviews with the child should assist
in the process of finding a new family for the child, A DHS-SS-476, Adoption
Exchange form will be completed in accordance with MS Code 43-15-19 that states the
agency “shall maintain a Mississippi Adoption Resource Exchange registry, which shall
contain a total listing of all children freed for adoption as well as a listing of all persons
who wish to adopt children and who are approved by a licensed adoption agency in the
state of Mississippi.”

As part of the efforts to identify permanent families for children and youth, the
Resource Family Placement Committee will meet quarterly to identify children waiting
for permanent families and review and select an appropriate Resource Family. An
aspect of the focus of the meeting is to identify child specific recruitment needs.

A. Abandoned Infants
MS Code Section 43-15-203(1) states that “no later than the close of the first

business day after the date on which an emergency medical services provider takes ® C

possession of a child the provider shall notify the Department of Human Services
that the provider has taken possession of the child.” The Resource Family ASWS
shalt be notified immediately and included in placement planning for all abandoned
infants. The infant will be placed in the home of 2 Resource Family interested in
adoption as chosen by the Resource Family Program.

B. Supervision of Placements When a Child Is Placed In an Adoptive Home

The Resource Specialist supervises all children in MDHS custody who are free for
adoption and placed by the agency in an Adoptive Resource home. A major role of
the Resource Specialist during the supervisory period is to provide support to the
Adoptive Family. A minimum of six months supervision is required for each
agency adoptive placement.

The agency has authority to remove the child after placement and before legal
adoption. This step should be considered only for reasons such as separation of the
Adoptive Parents, death, mental breakdown, serious incapacitating illness,
abuse/neglect, or failure in adjustments. Even in such cases, the county staff and the
Resource Family ASWS and Resource Specialist must examine each situation
individually to determine whether the child should be removed. Every possible
resourve for help should be offered the family before considering removal,
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@ C. Working with Private Agencies

The Resource Family Placement Committee may decide to utilize an adoptive

with « licensed private adoption agency if it is in the best interest of the
child. Once this placement is agreed upon, the private agency will make plans with
a Resource Specialist, County Worker, the current caregiver (when appropriate) and
the private agency foster/adoptive family. A pre-placement schedule will be given
to all parties involved in the placement after it is approved by the Resource Family
ASWS and/or Placement Director.

The pre-placement visitation will be supervised by the private agency and Resource
Specialist. The Resource Specialist will complete the Adoption Subsidy/Assistance
paperwork with the family.

After placement is made, the private agency staff may conduct es many home visits
as necessary each month but ons of these visits shal] be face-to-face with the child.
The Resource Specialist or County Worker will accompany the private agency
worker on this face-to-face visit so that the family is not caused undue stress by too
many different professionals visiting the home. The private agency staff will send
monthly reports to the Resource Specialist noting the progress of the placement.

‘The private agency staff makes recommendation on behalf of the child to finalize
adoption after placement has stabilized and these recommendations are sent to the
Resource Family ASWS. The Resource Family ASWS shall send a letter to the
@ family approving the finalization of the adoption. The legs! documents are prepared
by the DFCS State Office Resource Family staff and sent to the Adoptive Family's
attomey of choice.
An spproved MDHS Home Study will be celeased to a private agency upon receipt
of payment of a fee in the amount of $350.00 payable to: Treasurer, State of
Mississippi.
A Resource Family may not be licensed by MDHS and another agency or
organization simultancously.

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XIX. INDEPENDENT ADOPTIONS THROUGH CHANCERY COURT

The request for a home study in an independent (private) adoption must come from the
Judge rather than from the petitiostess or their attorney.

The study process should be carried out as nearly as possible in line with Agency policy
on all Resource Family home studies. However, the different Judges will vary widely in
the kind and amount of information required, and such studies will of necessity need to
be geared to the individual wishes of the Judges.

If the Court requests follow-up supervision of the placement, this service should be
provided by the County Worker. In this event, supervisory reports are made to the
Court. AIS reports to the Court should be written with recognition of the fact that the
Judge has responsibility and authority in the adjudication of the particular situation.

Fees may be charged as deemed appropriate by the agency for home studies for private
adoptions as ordered by the Judge, and also for supervision of the placement. This fee
also applies to Resource Parents who request that their home study be released to
another agency. Checks should be made payable to: Treasurer- State of Mississippi.

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XX. ADOPTION SUBSIDY/ASSISTANCE

Section 93-17-53 of the Mississippi code allows for monetary supplements to Adoptive
Families. “This benefits the most appropriate adoption of each child certified by the
state department of public welfare 2s requiring a supplemental benefit to assure
adoption.”

Adoption Subsidy is designed as a supplemental financial benefit to assist families
adopting an eligible child with special needs who would be unlikely to be adopted
otherwise. The purpose of the Adoption Subsidy is to reduce financial barriers that may
impede the special needs of the child toward an opportunity to be adopted. The child
must be determined eligible for Adoption Subsidy by the Resource Specialist and
approved by the Resource Family ASWS. If the Adoptive Family is willing to adopt 3
special needs child without financial supplement, children can be adopted without
subsidy.

The agency has two programs that offer various kinds of benefits:

1. Title [V-E (Federal), also called Federal Adoption Subsidy (FAS), provides
a monthly maintenance payment and Medicaid. Eligibility for Medicaid
benefits can be transferred to another state when Interstate Compact on
Adoption Medical Assistance (CAMA) forms have been completed.

2. Title [V-B (State), also called State Adoption Subsidy (SAS), provides a
@ monthly maintenance payment. Eligibility for Medicaid benefits may or
may not be transferred to another state. Medicaid is net guaranteed but may

be determined by another state. .
Deferred Adoption Subsidy occurs when a child's birth family background factors
put him/her at risk for special needs. When documents are submitted of the child’s
special needs diagnosis linked to background, a monthly subsidy payment can

occur.

1, Title IV-E Deferred provides Medicaid benefits and non-recurring expenses.

2. Title [V-B Deferred provides only non-recurring expenses. Eligibility for
Medicaid cannot be deferred.

To pursue adoption subsidy/assistance certification for the child, the following should
be included in the termination of parental rights (TPR) packet:

Current and past medical evaluations.
fJ Current immunizstion record.

& Current and past dental examination reports (within the past six months). If
dentai repair work is needed, it must be completed before the adoption is

finalized.
f4 Current psychological evaluation report as needed (within the past 12
yt months) or developmental assessment for children ages 0-5.
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Current school reports, special education evaluations and the most recent
LEP, if child has a special education ruling.

Department of Health form 913, “Medical and Social History”.
Current photograph of child (preferably color).

Child's birth certificate.

Labor and Delivery records,

If parents have signed a 459 “Surrender of Parental Rights”, immediately
fax or mail a copy to the Resource Family ASWS (even if only one parent
has signed) and mail the originals with the other information.

Medical Information on parents, including any psychological diagnoses, is
invaluable to the child and can support the child obtaining deferred
adoption assistance.

Death certificate, if applicable.
Current addresses of the biological parents,

The Resource Family Program staff is’ responsible for compiling the information
needed to determine a child's eligibility for Adoption Subsidy. For consideration all the

following criteria must be met: ‘
1. The court that holds jurisdiction determined that it was in the best interest to

remove the child from the parents and the child cannot or should not be returned
to their home. This must be stated in 2 court order.

2. The child must be determined by the agency to be a child with one or more
special needs as follows:

a. Physical disability

b. Mental (1.Q. 70 or fess), emotional, and/or developmental (25% delay)
disability

c. Age (must be six (6) years old or older)

d. Membership of a sibling group of two (2) or more children being placed
together even if adoptions are finalized at different times.

e. Medical conditions

Factors in the child’s medical history or background or the medical
history or background of the child’s biological family, which places the
child at risk of acquiring a medical condition, a physical, mental or
developmental disability or an emotional disorder. This includes
unknown parent, abandoned children and safe babies. Current
information is required to document the above conditions.

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@ 3. Significant emotional ties with Resource Family, if child is being adopted by his
or her Resource Family. ,
4. The state made reasonable, but unsuccessful efforts, to place the child without
Adoption Subsidy

A. Initiation of IV-E Adoption Subsidy Payment

The Adoption Eligibility screen EX in MACWIS must be completed by the
Resource Specialist and approved by the Resource Family ASWS.

1. When the Resource Parent finalizes the adoption, the foster board payment
should terminate upon finalization. Adoption Subsidy payments begin the day
after finalization. A family will oot receive both a board payment and an
Adoption Subsidy payment for the same child.

2. When a certified special needs child is placed with resource parents, payments
will begin at the time of placement, prior to the Final Decree of Adoption.

3. The amount of the Adoption Subsidy Agreement may not exceed the amount of
the foster care maintenance payment that would have been paid for that specific
child if the child had been in a Resource Family home.

4. The amount of the Adoption Subsidy is not based upon income. The agreed

_ upon payment will be expected to combine with the parents resources to Cover
@ the ordinary and special needs of the child projected over an extended period of
time.

5. The amount of the Adoption Subsidy payment can be adjusted up to the
maximum allowable payment or reduced, with the concurrence of the Adoptive
Parents when the projected needs of the child change.

6. Adoption Subsidy monthly payments are subject to the Federal and State
funding provided by the State Agency. It shall be strongly emphasized to the
Adoptive Parents that federal and state law governs the money payment and the
availability of funding is not guaranteed. If funding is reduced, subsidy
payments will be renegotiated with each family.

7. The child's ordinary and special necds are accounted for during the negotiation
of the Adoption Subsidy Agreement. If the family is not receiving maximum
subsidy, the only means for a return to renegotiate is if the child’s special needs
have changed that meet the criteria for the special board payment. A change in
family circumstances can be discussed but is not the factor in renegotiations.

B. Initiation of IV-B Adoption Subsidy Payments

The State Adoption Subsidy utilizes state funds matched with Title [V-B funds. The
same criteria listed in [V-E payments apply except for the fact that the child must
have been determined ineligible for IV-E foster care to seceive IV-B Subsidy.

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C. Private Licensed Non-Profit Child-Placing Agencies Obtaining Adoption
Subsidy

The following items are needed in order for a Private Licensed Child-Ptacing
Agency to request adoption subsidy:

I.

2.

9.

Document/s which legally frees child for adoption and places custody with a
licensed child placing agency;

Documentation of special nceds (must be within past six months) such as (a)
psychological, (b) medical reports, (c) reports from therapist, and (d) other
documentation as determined by the Resource Family Program:.

Birth Certificate;

Documentation of IV-E Eligibility based on 1996 AFDC criteria;

Documentation of SSI eligibility (a copy of the most recent SSI award
notice). The child must be under age of 18 or 21 if SSI eligible. SS1 must be
determined prior to final decree of adoption;

Date registered on the Mississippi Adoption Resource Exchange
(Mississippi Code of 1972, Section 43-15-19, annotated);

efforts made ta place the child without Adoption Subsidy;

Documentation the child has established significant emotional ties with
prospective Adoptive Parents while in their care as a foster child and it is
deemed in the best interest of the child by the egency to be adopted by the
Resource Parents;

Child's Social Security Number;

Documentation of reasonable but unsuccessful child specific recruitment @

t0. Child’s Medicaid Number

Db. Adoption of Child by Birth Parent/s

A biological parent whose parental rights have been terminated and who later
adopts his or her biological child cannot receive an Adoption Subsidy.

E. Termination of Adoption Subsidy

Termination will occur in any of the following circumstances:

Adoption Subsidy payments will terminate when the child reaches the age of
18 or at State option 21. Adoption Subsidy may be provided until the child
is 21 years of age if the child has a mental or physical handicap which

warrants continuation. Section 93-17-67 of the Mississipp: Code provides CB

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9 subsidy to a child up to age 21 if the DFCS State Office Administrator

determines that the treatment or rehabilitation for which payment is being
paid is in the best interest of the child. The child will continue to be deemed
eligible for Medicaid if they are receiving Title [V-E Adoption Assistance.

2. If the agency determines that the Adoptive Parents are no longer legally
responsible (such as they relinquish custody or give custody to someone
else.)

3. Uf the agency determines that the Adoptive Parents are no longer providing
support (such as death of a child, the child marries, etc).

4. IV-E Adoption Subsidy will resume at the subsequent adoption of a child
after the death of a former Adoptive Parent based on the contingency plan.
The new [V-E Adoptive Parents must complete fingerprinting and law
enforcement background checks as well as a Central Child Abuse Registry
check.

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XXI. ADOPTIVE LEGAL PROCESS

if the family is adopting a Special Needs Child who has been certified for Adoption
Assistance, they have some options as to how they will handle the finalization of the
adoption:

1. They may select their own attorney and pay the attomey fees, court cost, and
revised birth certificate fee themselves.

2. They may select a private attorney or the Law School Project to handle the
adoption and the agency will pay the non-recurring expenses such as attomey
fee, court costs and fee for the revised birth certificate (maximum 5600 per
child).

3. The Resource Specialist will need to state which option the family has chosen
and document in the “Option Form” signed by the family.

4. Lf the family wants to use a private attomey, the Resource Specialist will send
the legal documents directly to the attorney.

5. Upon receipt of the Final Decree of Adoption and an itemized Statement from
the attorney, the Resource Family ASWS will request a check be issued to pay
the fees.

6. It is the Resource Specialist responsibility to obtain from the adoptive parent(s)
a copy of the Final Decree of Adoption which allows the case records to be
closed. It will be necessary, of course, for the Adoptive Parent(s) to request this
be provided by their attomey. ® -

J. The Social Security Act provides that an adopted child, who was or is eligible (—
for benefits under his birth parents’ coverage, may continue to be eligible to
receive these benefits after adoption. .

8. The adopted child who was eligible for Veteran's Benefits priar to adoption may
continue to be eligible after adoption. Adoptive Parents should be made aware
of this possibility. Adoptive Parents should be told that they will be notified by
the Resource Specialist if their child is affected and that confidentiality will be
preserved by the Department and by Veterans Adsninistration.

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@ XXII. INTERNATIONAL ADOPTIONS

Many countries allow families from the United States to adopt children and some of
these families adopt children with special needs. The state child welfare agency is
usually only contacted If the family needs financial benefits for their special needs child
and almost always this is after the adoption is finalized. The family can apply for

' Adoption Subsidy/Assistance without being [V-E eligible. In order to receive financial
assistance, the family must prove the child had special needs prior to the adoption and
the state must receive proof from the country from where child was adopted, that
reasonable but unsuccessful efforts were made to place the child without subsidy. Since
both are rarely proved, providing adoption subsidy/assistance to children adopted from
foreign countries is also very rare.

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Mississippi, Volume iV Section F (
Revised November 2007 Page 4543

XXIH. INTERSTATE COMPACT ON THE PLACEMENT OF CHILDREN
A. Qut of State Adoptions

Requests from out-of-state adoption agencies for Home Studies and/or placement
supervision for a particular child are made to the Interstate Compact on Placement
of Children, Resource Family Program. Agency policy provides for free exchange
of information with public or private agencies with written consent of Adoptive
Parents,

100 C icatio: The State of Mississippi
requires that Form ICPC-100A be secured when an unrelated child either comes
into the State of Mississippi for adoption, or is placed for adoption outside the State.
The procedures as outlined in the Interstate Compact on the Placement of Children
in Volume IV, Section H, are to be followed.

If a child is placed for adoption in another state it is the responsibility of the COR
Worker to initiate the ICPC Request for Adoption Study with the 100-A. See ICPC
State Policy and Caseworker Guide to ICPC for further ICPC procedure,

B. The Interstate Compact on Adoption and Medical Assistance (ICAMA)

relicd upon by its members to regulate and coordinate the interstate delivery of So,

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Section F
' Page 4603

ADOPTIVE SERVICES
ADOPTION ASSISTANCE

1. In order for a child to be considered a special needs child for the purposes of the
adoption assistance program, all of the following criteria must be met:

A.

The Youth Court Judge determined that the child cannot or should not be
returned to the home of his parents. This must be stated in a Court Order issued
within 180 days of a custody order or Voluntary Surrender.

The child must be determined by the agency to be a child with one or more
special needs as follows: —

1.
2.
3.

4.

_ Physical disability

‘Mental disability (.Q. of 70 or less)

Developmental disability
Emotional disturbance

Age (must be Six (6) years old or older)

. Membership in a sibling group of two (2) or more children being placed

together
Racial or ethnic factors
Medical conditions

Factors in the Child’s Medical History or Background or the Medical
History or Background of the Child’s Biological Family Place the Child at
Risk to Acquire a Medical Condition, Aphysical, Mental or Developmental
Disability or an Emotional Disorder. Current information is required to
document the above conditions.

.. Significant emotional ties with foster parent(s), if child is being Adopted by his

or her foster parents.
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ADOPTIVE SERVICES
ADOPTION ASSISTANCE

Assistance which must be documented in the child's case record by the Adoption Unit

| The Agency must make reasonable efforts to place the child without IV-E Adoption
Staff.

Significant Emotional Ties

EXCEPTION: When the best interest of the child would not be served by such efforts, as
in the case of a child whose foster parents are applying to adopt and significant emotional
ties have developed between the foster parents and child over a minimum of 6 months.
This issue must be addressed by the adoption worker in the adoption home study.

r et on Contieation er ey cbeck Certification of Child for Adoption

Adoption Assistance : Assistance /

. . avian Certification of Child for Adoption
. Form MDHS-SS-AU-1, Eligibility Check . .

List for Certification of Child for Assistance will be completed by the

- Adoption Assistance will be completed by Adoption emt Staff and MACWIO" the

the Adoption Unit Staff and submitted to | Appropriate, “oe genera welt 8. a

ti inistr : - ,

the Adoption Administrator for approval/ Adoption Administrator so she will

disapproval. : .
PP know to review the recommendation

and either approve or deny the
certification.

Criteria for Adoptive Parent(s) to Receive IV-E Adoption Assistance

The following criteria must be met for the adoptive parent(s) to receive IV-E Adoption
Assistance, ,

_ 1. The applicants must be approved by the Adoption Unit or an other licensed adoption
agency as adoptive parent(s).

2. The child being adopted must have been determined eligible for IV-E Adoption
Assistance. .
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Ex. 12C

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RESOURCE FAMILY
LICENSURE

PRACTICE GUIDE

Mississippi
Department of Human Services
Division of Family and Children's Services
September, 2007

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Frequently Asked Questions about Becoming a Resource Parent |

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Q:
A:

What are the basic requirements to be a Resource Parent?

You must be at least 21 years of age, a US citizen and a resident of Mississippi for at least
one year. You must be able to show proof of residence in the home. You will need to be
able to meet the needs of the child placed with you.

Do I need to own my own home?
No. You may rent or own your home.

Can single parents foster or adopt? Do I have to be married?

You may be single or married. If you are married you must have been married for at least
two years. If you were previously married, you must be legally divorced or widowed (you
cannot be licensed if separated from your spouse.) You cannot have unrelated adults living
in your home.

Is there an income requirement?

You will need to have enough income to meet the needs of your own family and other
household members, based on minimal government guidelines, without relying any foster
care board payment or adoption subsidy you may receive for the child placed with you.

Can I get help with daily living expenses for a foster or adopted child?

If you provide foster care you will receive a daily stipend to assist with the cost of

caring for the foster child, and medical expenses are covered for the child. Adoptive
parents may receive an adoption subsidy depending on the child’s needs and eligibility for
subsidy programs. Most Resource Parents find that they need to supplement this financial
assistance with their own funds.

Can I be employed outside the home? Can I get help with day care for a foster or adopted
child?

Many Resource Parents work outside the home. You will need to have flexibility in

your employment to allow you to be available to attend meetings or otherwise provide for
the child’s needs. You will also need to have a plan for safe and reliable child care, which
must be approved by the Agency. The availability of funds to assist with child care varies
and can be discussed more accurately when a specific child is being considered for your
home.

Does the child need to have his or her own room?

No. Up to four (4) children of the same sex may share a room, depending on the size of the
toom. Each child must have his or her own bed, except that two (2) siblings of the same sex
may share a full size bed. There are a few more regulations about bedroom space and these
will be reviewed with you during the training and licensing process.

What types of children need homes?
Temporary foster care is needed for children of all ages. Children waiting for adoption

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CURRENT RESOURCE FAMILY ADOPTION

Discussion of Adoption with the Resource Family

A discussion with the Resource F amily regarding their interest in adopting a child in their
home must be documented in the narrative screen in & MACWIS. Once the Resource
Family has expressed their desire to proceed, the County of Service staff assigns the adoption
addendum to the designated Resource Specialist.

Understanding Transitions
An important aspect of this phase of the work by the Resource Specialist is to help the
Resource Parent(s) understand the transition that will occur in their lives including:

& Role of the Agency

& Potential Child Reaction

& Legal Implications

<2 ~What Adoption Means to the Resource Family’s Children
&, Adoption Assistance

& Contingency Plan

Best Practice Tips

Discussion of the Resource Parent’s role in relation to permanency planning occurs
on an ongoing basis throughout each placement. This process includes helping
Resource Parents with the sometimes painful task of supporting reunification, making
the them aware of other permanency or placement options being considered for a
child, and assisting the family as they consider the adoption of a child who cannot
return to birth parents.

In terms of adoption, helpful services to Resource F. amilies include exploring
concerns regarding the child’s current or future needs and working to identify
services and supports that will be available once adoption occurs. Needed supports
may include financial subsidies or community services, or assistance with resolving
extended family issues such as sibling contact or openness with birth family
members.

When Resource Parents have received the service described above yet remain
unwilling or unable to make a clear commitment to be lifelong parents, youth
permanency specialists recommend that they be reminded firmly but with respect that
they must choose between one of only two courses of action that are in the child’s
best interest: They must either make a clear and timely permanency commitment or
give the child emotional permission to have another family and support them as work
takes place to identify an alternative permanency resource.

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ADOPTION SUBSIDY/ASSISTANCE

Legal Basis

Section 93-17-53 of the Mississippi code allows for monetary supplements to adoptive
families: “This benefits the most appropriate adoption of each child certified by the state
department of public welfare as requiring a supplemental benefit to assure adoption.”

Purpose

Adoption Subsidy is designed as a supplemental financial benefit to assist families adopting
an eligible child with special needs who would be unlikely to be adopted otherwise. The
purpose of the Adoption Subsidy is to reduce financial barriers related to the special needs of
the child which may impede the opportunity to be adopted. The child must be determined
eligible for Adoption Subsidy by the Resource Specialist and approved by the Resource
ASWS. If the Adoptive Family is willing to adopt a special needs child without financial
supplement, a child can be adopted without subsidy.

Types of Aid
The agency has two programs that offer various kinds of benefits:

1. IV-E (Federal), also called Federal Adoption Subsidy (FAS), provides a monthly
maintenance payment and Medicaid. Eligibility for Medicaid benefits can be transferred
to another state when Interstate Compact on Adoption Medical Assistance (ICAMA)
procedures have been completed.

2. IV-B (State), also called State Adoption Subsidy (SAS), provides a monthly maintenance
payment. Eligibility for Medicaid benefits may or may not be transferred to another
State. Medicaid is not guaranteed but may be determined by another state.

Deferred Adoption Subsidy/Assistance

Deferred Adoption Subsidy is available when a child’s birth family background factors put
the child at risk for special needs, even though the child does not evidence special needs
when initial eligibility is determined. No subsidy is provided at the time of initial
application. However, if the child later develops special needs linked to background, a
monthly subsidy payment can be initiated. In order for deferred subsidy payments to begin,
documentation will be required to verify the presence of the special need and its link to
background factors.

fl IV-E Deferred provides Medicaid benefits and non-recurring expenses.
& IV-B Deferred provides only non-recurring expenses. Eligibility for Medicaid cannot be
deferred.

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Information Needed to Apply for Adoption Subsidy/Assistance
To pursue Adoption Subsidy/Assistance certification for the child the following should be
included in the Termination of Parental Rights (TPR) packet:

Current and past medical evaluations.

Current immunization record.

Current and past dental examination reports (within the past six months). If dental repair
work is needed, it must be completed before the adoption is finalized.

Current psychological evaluation report as needed (within the past twelve (12) months) or
developmental assessment for children ages Birth-5.

Current school reports, special education evaluations and the most recent JEP, if child has
a special education ruling.

Department of Health form 913, “Medical and Social History”.

Current photograph of child (preferably color).

Child’s birth certificate.

Labor and Delivery records.

If parents have signed a 459 “Surrender of Parental Rights”, immediately fax or mail a
copy to the District Program Administrator (even if only one parent has signed) and mail
the originals with the other information.

Medical Information on parents, including any psychological diagnoses, is invaluable to
the child and can support the child obtaining Deferred Adoption Assistance.

Death certificate, if applicable.

Current addresses of the biological parents.

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Eligibility Criteria

The Resource Family Program staff is responsible for compiling the information needed to
determine a child’s eligibility for Adoption Subsidy. For consideration all the following
criteria must be met:

1. The court that holds jurisdiction determined that it was in the best interest to remove the
child from the parents and the child cannot or should not be returned to their home. This
must be stated in a court order.

2. The child must be determined by the agency to be a child with one or more special needs
as follows:

Physical disability.

Mental (1.Q. 70 or less), emotional, and/or developmental (25% delay) disability
Age (must be six (6) years old or older).

Membership of a sibling group of two (2) or more children being placed together
even if adoptions are finalized at different times.

e. Medical conditions.

f. Factors in the child’s medical history or background or the medical history or
background of the child’s biological family, which places the child at risk of
acquiring a medical condition, a physical, mental or developmental disability or an
emotional disorder. This includes unknown parent, abandoned children and safe
babies. Current information is required to document the above conditions.

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Significant emotional ties with Resource Parent(s), if child is being adopted by his or
her Resource Family.

The state made reasonable, but unsuccessful efforts, to place the child without Adoption
Subsidy.

Initiation of IV-E Payments
The Adoption Eligibility screen in & MACWIS must be completed by the Adoption
Specialist and approved by the Resource F amily ASWS.

1.

When the Resource Parent finalizes the Adoption, the foster board payment should
terminate upon finalization. Adoption Subsidy payments begin the day after finalization.
A family will not receive both a board payment and an adoption subsidy payment for the
same child.

When a certified special needs child is placed with Resource Parents, payments will
begin at the time of placement, prior to the Final Decree of Adoption.

The amount of the adoption subsidy agreement may not exceed the amount of the foster
care maintenance payment that would have been paid for that specific child if the child
had been in a Resource Family home.

The amount of the adoption subsidy is not based upon adoptive parents’ income. The
agreed upon payment will be expected to combine with the parents resources to cover the
ordinary and special needs of the child projected over an extended period of time.

The amount of the adoption subsidy payment can be adjusted up to the maximum
allowable payment or reduced, with the concurrence of the adoptive parents, when the
projected needs of the child change.

Adoption Subsidy monthly payments are subject to the Federal and State funding
provided by the State Agency. It shall be strongly emphasized to the adoptive parents
that federal and state law governs the money payment and the availability of funding is
not guaranteed. If funding is reduced, subsidy payments will be renegotiated with each
family.

The child’s ordinary and special needs are accounted for during the negotiation of the
adoption subsidy agreement. If the family is not receiving maximum subsidy, the only
means for a return to renegotiate is if the child’s special needs have changed such that
they meet the criteria for the special board payment.

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Initiation of IV-B Payments

The State Adoption Subsidy utilizes state funds matched with Title [V-B funds. The same
criteria listed in Title [V-E payments apply except for the fact that the child must have been
determined ineligible for Title IV-E foster care to receive Title IV-B Subsidy.

Private Licensed Non-Profit Child Placing Agencies Obtaining Adoption
Subsidy

The following items are needed in order for a Private Licensed Child-Placing Agency to
request adoption subsidy for a child placed by that agency:

1. Document/s which legally frees child for adoption and places custody with a licensed
child placing agency.

2. Documentation of special needs (must be within past six months) such as (a)

psychological, (b) medical reports, (c) reports from therapist, and (d) other

documentation as determined by the Resource Family Program.

Birth Certificate.

Documentation of IV-E Eligibility based on 1996 AFDC criteria.

Documentation of SSI eligibility (a copy of the most recent SSI award notice). The child

must be under age of 18 or 21 if SSI eligible. SSI must be determined prior to final

decree of adoption.

6. Date registered on the Mississippi Adoption Resource Exchange (Mississippi Code of
1972, Section 43-15-19, annotated).

7. Documentation of reasonable but unsuccessful child specific recruitment efforts made to
place the child without adoption subsidy.

8. Documentation the child has established significant emotional ties with prospective
adoptive parents while in their care as a foster child and it is deemed in the best interest
of the child by the agency to be adopted by the foster parents.

9. Child’s Social Security Number.

10. Child’s Medicaid Number.

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Adoption of Child by Birth Parents
A biological parent whose parental rights have been terminated and who later adopts his or
her biological child cannot receive an adoption subsidy.

Termination of Adoption Subsidy/Assistance
Termination will occur in any of the following circumstances:

1. Adoption subsidy payments will terminate when the child reaches the age of 18.
Adoption subsidy may be provided at State option until the child is 21 years of age if the
child has a severe mental or physical handicap which warrants continuation. Section 93-
17-67 of the Mississippi Code provides subsidy to a child up to age 21 if the DFCS State
Office Administrator determines that the treatment or rehabilitation for which payment is
being paid is in the best interest of the child. The child will continue to be deemed
eligible for Medicaid if they are receiving Title [V-E Adoption Assistance.

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2. Ifthe agency determines that the adoptive parents are no longer legally responsible (such
as they relinquish custody or give custody to someone else.)

3. Ifthe agency determines that the adoptive parents are no longer providing support (such
as death of a child, the child marries, etc).

4. Title IV-E Adoption Subsidy will resume at the subsequent adoption of a child after the
death of a former adoptive parent based on the contingency plan. The new Title [V-E
adoptive parents must complete fingerprinting and law enforcement background checks
as well as a Central Child Abuse Registry check.

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Feedback?

Division of Family and Children’s
Child Abuse Hot Line

Services 4-800-222-8000 (Nationwide)
Opt to Adopt ... or (601) 359-4991

"4-800-821-9157

Meet Our Children Available for Adontion

How te Adopt?
Whe Can Adopt?
Whe are the Children Waiting fer Adoption?

Print a copy of the Adoptive Parent Application in PDF format

Children available for adoption are featured on Wednesday's Child, a collaboration of Mississippi Department of
Human Services and WLBT Television. For more information about these children, please call (601) 359-4989.

How to Adopt ...

Step 1 Contact...
The Adoption Hotline Toll-Free at 1-800-821-9157 to obtain additional information and an application.

Step 2 Application
Once your application has been received, it will be evaluated to determine if you meet the minimum requirements
(such as age, length of marriage, sufficient income). You may be placed on a waiting list.

Step 3 Training Sessions

If we are able to proceed with your application, you will be invited to attend a series of five weekly training sessions.
The sessions cover such topics as how children come into our custody; how to explain adoption to a child;
understanding the process of separation and attachment; child development: and how to manage behavior.

Step 4 Home Study
You will be asked to participate in a series of interviews with a social worker. These interviews allow you and your
social worker the opportunity to discuss practical as well as emotional factors surrounding adoption.

The home study helps you and your social worker determine if you and your family are ready to adopt and what type
child would best fit into your family.

Step 5 Placement
Placement begins with short visits between you and the child and are gradually extended to over night, When the social worker. the
child and you feel everyone is ready, arrangements will be made for placement in your home.

Step 6 Post Placement .

Once a child is placed in your home, your social worker will visit several times to help you and your child with the adjustment process.
These visits will continue for at least six months until we can recommend the adoption be finalized by the court. You may choose any
attorney you wish to represent you during the adoption proceedings in court.

http://www.mdhs.state.ms.us/fcs_adoptall html 4/11/2009
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ADOPTION ASSISTANCE

Applicants who adopt children with special needs are eligible to receive financial assistance until the child comes of
age. A special needs child is defined as:

o any child six years of age or older

o siblings groups of two or more

o children with emotional, mental or physical needs

o children with chronic medical conditions.

COST

The Mississippi Department of Human Services does not charge any fees for its adoption services. However, when it
is time to finalize the adoption, you are expected to pay attorney fees, only if the child does not receive Adoption
Assistance.

Who can Adopt...
Requirements for Adopting

Single Persons

Married Couples who have been married at least two years

Applicants who are at least 21 years of age

Families and Individuals whose income and insurance are sufficient to meet the additional needs of an adopted child
Individuals who meet accepted emotional, intellectual and psychological standards to be good parents.

If you meet all of the above requirements, you may print a copy of the Adoptive Parent Application.
Itis available in Portable Document Format (PDF) only. Viewing the PDF files require Adebe Acrobat Reader. To download the free
Adobe Acrobat Reader, click here Adobe Acrobat Reader

Adoptive Parent Application - Available in PDF format.

Who are the Children Waiting for Adoption?

All of the children available for adoption through the Department of Human Services have one thing in common: Their
biological parents are no longer able to care for them.

We have very few infants or toddlers available for adoption. Most of our children are six years of age or older. Many have
brothers and sisters who are also available for adoption. Some children have emotional, mental or physical needs. Others
have chronic medical conditions. All need loving parents who can accpet them as they are.

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For information on how to adopt any of these children, please contact the Adoption Hotline at 1-800-321-
9157.

http://www.mdhs.state.ms.us/fcs_adoptall html 4/11/2009
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MDHS
DIVISION OF FAMILY & CHILDREN’S SERVICES

MISSISSIPPI PATH

(Parents as Tender Healers)

A Curriculum for
Foster, Adeptive and Kinship Care Parents
(Resource Families)

Certain passages in each Session as well as several articles
are copied, with permission, from
Training and Resource Center > Spaulding for Children

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Mississippi State Subsidy Profile

BR Updated July 2006
, State Subsidy Contact Person

Phoebe Clark
Department of Human Services
Family and Children Services

Adoption —_750 North State Street

: Jackson, MS 39202
Subsidy phone: 601-359-4981

Toll-free: 800-345-6347 (in state)

United States ‘Toll-free: 800-553-7545 (out of state)
® State Profiles Fax: 601-359-4226
e Fact Sheets E-Mail: pclark@mdhs.state.ms.us
e Definitions
e National
Summary NACAGC Subsidy Representative (parent/volunteer)
Canada
e Provincial Janice Huff
Profiles Family Matters of Jackson

2062 Suzanna Drive
News & Resources Raymond, MS 39154
Home: 601-371-1165
FAQs E-mail: lonellandjanice@aol.com

Adoption subsidies are available for children with special needs. Federal
subsidies were created by Congress (through Public Law 96-272—the
Adoption Assistance and Child Welfare Act of 1980) to encourage the
adoption of special needs children and remove the financial disincentives to
adoption for the families. Children may receive a federally funded subsidy
under Title IV-E or a state-funded subsidy as per state guidelines. Below we
have outlined information related to definitions of special needs, benefits
available, and procedures in your state. Answers to select questions were
made available by the Association of Administrators of the Interstate
Compact on Adoption and Medical Assistance (AAICAMA) through the
Child Welfare Information Gateway (www.childwelfare.gov). Profiles for
each state’s subsidy program are available on our web site at www.nacac.org.
If you have additional questions, please call the North American Council on
Adoptable Children (NACAC) at 651-644-3036 or our subsidy help line at
800-470-6665, or e-mail us at adoption.assistance@nacac.org. If you have
state-specific questions, please call your State Subsidy Contact Person or the
NACAC Subsidy Representative (listed above) for more information.

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Adoption Resources on the Web:
http://www.mdhs.state.ms.us/fes howadopt.html
Mississippi’s state-specific medical assistance links:
http://www.medicaid.state.ms.us

Mississippi’s adoption assistance links:
http://www.imdhs.state.ms.us/fes whoare.html

See under the heading, “Most of the children have special needs. They are...”
for a description of children eligible for adoption assistance.

1. What specific factors or conditions does your State consider to
determine that a child cannot be placed with adoptive parents without
providing financial assistance? ("What is your State definition of special
needs?")
A child with special needs is defined as a child that has at least one of the
following needs or circumstances that may be a barrier to placement or
adoption without financial assistance:

a. Six years of age or older

b. Racial or ethnic factors

c. Member ofa sibling group of two or more children placed
together for adoption

d. Physical disability

e. Mental disability (Q of 70 or less)
f. Developmental disability

g. Emotional disturbance

h. Medical condition(s)

i. History of abuse that puts a child at risk of having special
needs

2. What are the eligibility criteria for the State-funded adoption
assistance program?

In order to be eligible for state-funded adoption assistance a child must be a
special needs child as defined above.

3. The maximum basic monthly adoption assistance maintenance
payment in Mississippi is:
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Basic Rates:
Age Rate
0-3 $325
4-5 $335
6-9 $355
13-15 $390
16+ $400
SSI Rate $500

Note: Children receive the rate they received in foster care or would have
received if they had been in foster care.

4, Specialized rates are based on the extraordinary needs of the child,
and/or the additional parenting skill needed to raise the child. If
Mississippi offers these rates, the criteria used to define them are as
follows:

Specialized rates are determined based on the special rate established for the
child in foster care. Specialized rates relate to the individual needs of the
child. Decisions are made on a case-by-case basis. However, to qualify for
specialized rates, children must generally have multiple medical needs. Rates
are established while the child is in foster care. If Mississippi offers these
rates, the criteria used to define them are as follows:

1. Children who have exceptional physical, mental, or emotional, or
behavioral needs;

2. Children with extreme illness or disabilities requiring nursing care
(excluding children in residential treatment facilities);

3. Emotionally disturbed children requiring therapeutic care;

4. Medically fragile children.

5. Parents can receive payment or reimbursement for certain
nonrecurring adoption expenses directly related to the finalization of an
adoption. Below are the allowed expenses and the limit per child.

Only the one-time expenses for which the adoptive parents are responsible are
considered nonrecurring. These include: attorney fees, court costs, criminal
records clearance, the adoption home study performed by a licensed child-
placing agency, costs of amending a birth certificate, required medical and
psychological evaluations, transportation costs for placement and pre-
placement, and the reasonable costs of lodging and food necessary for the
child and adoptive parents to complete the adoption process. Families
adopting special needs children through licensed child-placing agencies,
independent adoptions, and intercountry adoptions may be eligible for
reimbursement of nonrecurring expenses. To be eligible, an adoption
assistance agreement must be signed by DHS prior to finalization. Means tests
are not permitted, and children need not be IV-E eligible to have access to
reimbursement.

The reimbursement limit is $1,000 per child.

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Ex. 12F

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GOALS, OBJECTIVES, INDICATORS, OUTCOMES:

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SOUTHERN CHRISTIAN SERVICES FOR CHILDREN AND YOUTH, INC.
HARDEN HOUSE ADOPTION/FOSTER CARE PROGRAM

PARTNERS IN PERMANENCY

NEEDS
STATEMENT OF TARGET
THE GOAL GOAL INPUTS GROUPS OBJECTIVES INDICATORS MEASURES OUTCOMES
1. Crisis Intervention
a. Lack of Provide case 1. Permanency staff | Fifty 1.“On-call” crisis Reduced Decreased stresses | Parents will fully
awareness of management 2. Staff of Foster/adoptive case management occurrence of of parents measured | utilize the available
available services by community families who are 2. Family’s family conflict through client resources to
community coordination of agencies with experiencing a progress “tracked” satisfaction surveys | increase family
resources when resources for available resources | crisis through progress and/or interviews commitment and
families feel family, such as, notes after service maintain safety of
threatened intensive in-home rendered child(ren)
services, counseling
b. Overwhelmed Provide family a 1. Trained respite Sixty Daily and/or Reduced stress and | Decreased stresses | Families exhibit
and desperate temporary break providers Foster/adoptive weekend respite in | restoration of of parents measured ; increased stability
family stressed from each other 2. Permanency staff | families who are homes of trained continuity of the through client and probability of
from prolonged through respite experiencing a respite families family and satisfaction surveys | abuse has decreased
crisis with child services crisis maintenance of the | and/or personal
resulting in placement of the interviews after
possible abuse child in the home service rendered
and/or dissolution
of the adoption
c. Lack of adequate | Improve 1. Permanency staff | Fifty Toll Free number Communication Families will make | Children’s well-
communication mechanism for 2. Toll free Foster/adoptive distributed to all facilitated for calls and progress being will be
vehicle to access parents to access telephone numbers | parents foster/adoptive families to reach measured by phone | enhanced through
crisis personnel, resources during experiencing crisis | parents maintained | agency through toll | logs and activity easier accessibility
available resources, | crisis 40 hours per week | free number records to resources and

and support

and on-call
coverage on
weekends and
evenings

case
management/crisis
personnel

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2. Coordination of Resources

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a. Poor utilization | Through 1. Permanency staff | Sixty-five Monthly Increased family Families in crisis Families exhibit
of community interagency 2. MS Department | Foster/adoptive collaborative involvement in receive requested increased stability
resources to advocacy, reduce of Mental Health families who are meetings with MAP | decision making by | services as and the well being
provide the best fragmentation, MAP Teams experiencing a teams to advocate giving all possible | provided through of the children is
possible decrease crisis and/or who on behalf of resources to MAP team partners | enhanced
environment for duplication of are having seventy- five provide safety and
change for the services and difficulty accessing | foster/adoptive well being of
family increase access for necessary resources | children in families | children in the
foster/adoptive who are family
families to experiencing crisis
resources
b. Lack of Coordinate and link | Permanency staff Forty Link families with | Reduced Families in crisis 1. Families exhibit
knowledge of available resources Foster/adoptive in-home intensive occurrences of receive requested increased stability
families of to families families who are services, i.e. Youth | family conflict and | services from and continuity
available resources experiencing a Villages and MS maintenance of Youth Villages, MS | 2. Families exhibit
crisis and/or Children’s Home child(ren) in the Children’s Home increased
possible dissolution | Services home Services or other commitment
of the family unit available resources
and the
effectiveness of
service measured
by client
satisfaction survey
after service
rendered
3.__ Training
a. Parenting skills | Improve parenting | 1.Permanency staff | Two hundred fifty | Quarterly, Reduced Increased parenting | Families learn new
are not sufficient to | skills inthe areaof { 2. Instructional foster/adoptive geographically occurrences of skills measured by | parenting
insure safety, discipline, training supplies parents accessible parent family conflict and | pre-and post-tests | techniques which
permanency and communication, 3. Other social training classes in reduced possibility enhance the
well being resulting | and relationships service each of the four of child abuse permanency and
in possible abuse through group professionals to administrative areas well being of the

and/or dissolution
of the adoption

training events

lead training

children and
stabilize the family
unit

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b. Parents lack
knowledge of
innovative
parenting
techniques in
dealing with child’s
behaviors related to
abuse/neglect and
separation/grief

Improve parenting
skills through
intensive training
events by
sponsoring
foster/adoptive
parents to training
events

1. Permanency staff
2. Foster/adoptive
parents

3. Various
professionals
leading workshops

Thirty-five
Foster/adoptive
parents for MS
Child
Welfare/Lookin’ to
the Future Conf.

MS Child
Welfare/Lookin’ to
the Future
Conference

Enhanced well-
being of not only
the child, but the
family as a whole
and prevent family
conflict and
abuse/neglect
occurrences

Increased
knowledge and
parenting skills
measured by pre-
and post-tests

Families learn more
information about
adoption/foster care
issues and share
with other
foster/adoptive
parents

c. Parents lack
knowledge of how
to advocate for
their child’s needs
and support for
themselves and

Improve parenting
skills through
weekend intensive
training events

1. Permanency staff
2. Adoption/foster
care staff

3. Volunteers

4. MDHS staff

5. Instructional

Seventy-five
families attending
intensive family
training conference

One weekend
training event held
at local community
college

Families come
together to share
experiences,
receive training on
adoptive/foster
parent issues, such

Increased
knowledge and
support measured
by client evaluation
at the end of
weekend

Families gain
support and
knowledge to
access during
difficult
circumstances and

their children supplies as advocacy, and enhancement of
6. Various agency network with each parents’ ability in
professionals other decision making
leading workshops

4. Support

a. Families do not
have adequate
support system
resulting in
isolation and
difficulty meeting
the needs of
children

Equip families by
bringing families
and children
together in family
support groups and
encouraging
activities that are
psycho-educational
and strength-
focused

1. Permanency staff
2. Adoption/foster
parents

3. MDHS staff

4. Supplies

1.One Hundred
fifty foster/adoptive
parents

2. One Hundred
foster/adoptive
children

Quarterly support
group meetings in
each of the four
administrative areas
with families

Promote advocacy
through networking
and providing
information and
referral services to
empower families
in navigating and
accessing
community,
educational, mental
health and medical
services

Increased level of
support and
knowledge
measured by
evaluation after
each group session

Families gain
support and thereby
increase stability
and maintain and
strengthen the
family unit

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b. Families are Provide opportunity | 1. Permanency staff | Thirty-five MS Child Families are Families are Families exhibit
made to feel for foster/adoptive | 2. SCSCY staff foster/adoptive Welfare/Lookin’ to | supported empowered and increased self
impotent and parents to network | 3. Food and parents and their the Future Conf. supported and esteem as a unit
isolated with other supplies children reception measured by

foster/adoptive evaluation after

parents at event

conference

reception
c. Lack of Inform parents and | 1. Permanency staff | 1. Nineteen Four Quarterly Families will be Families will Families exhibit
knowledge by MODHS staff of 2. Printing hundred newsletters knowledgeable of become aware and | increased stability
parents of training | training events, company foster/adoptive distributed to relative attend and permanency
events and community events, | 3. Foster/adoptive parents on mailing | foster/adoptive adoptive/foster care | foster/adoptive
upcoming events support group parents list parents and MDHS | issues on the local, | parent training

related to adoption
and foster care

meetings and
current events

2. MDHS Social
Service licensure

licensure staff

state and national
levels

events and other
special events

related to adoption staff related to
and/or foster care foster/adoptive
parents

d. Lack of
communication

Improve
opportunity for

1. Permanency staff
2. Internet provider

1.Nineteen hundred
Statewide

Updated web site
with information

Communication
facilitated for

Families will visit
website and will be

Families will utilize
available services

vehicle to access families to access Foster/adoptive for foster/adoptive | families to access measured by “hits” | as advertised on
state and national information parents parents on possible | more resources, to website website
resources 2. Professionals resources statewide and

who also work with nationally

foster/adoptive

parents
e. Lack of Improve parents 1. Permanency staff | 1. Nineteen Extensive lending Families will be Families will utilize | Families exhibit
knowledge of how | opportunity to 2. Multi-media hundred library available to | more informed lending library and | increased stability
to access and how problem solve by supplies for library | Foster/adoptive families to request | about issues will be measured by | and enhanced well
to utilize written conducting their parents and their by phone, mail or concerning their number of being

material as well as
other media
material on
children’s
behaviors

own research about
their children’s
behaviors and
treatments

children

2. Professionals
working with
foster/adoptive
Families

internet

child(ren) and will
be stronger partners
in their child’s
treatment

resources requested

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PROPOSED SERVICES
With an increased emphasis on placement stability, attention often focuses on the urgency
of placement rather than on the maintenance of the children in their new families.
Southern Christian Services for Children and Youth, Inc. is responsive to the urgent need
for placement but more importantly is committed to the support of children in their new
families, particularly families who adopt children with special needs. It is out of this
continued commitment to permanency that Southern Christian Services for Children and
Youth, Inc. proposes the continuation of the Partners in Permanency Program with a
focus on the family and the permanency only a family can provide. Through the Partners
in Permanency Program, emphasis will continue to be on the family as partners with the
Permanency Specialists and the MDHS Adoption/Licensure Specialist. The program will
continue to provide a comprehensive array of permanency services to adoptive/foster
families who provide a home for children with special needs in Mississippi. Through the
provision of permanency services rooted in practice with families, Partners in
Permanency will continue to:

o Coordinate existing resources to avoid duplication and to meet current

needs;

o Strengthen child and family functioning;

o Preserve the adoptive family unit;

o Reduce the incidents of out of home placements and disruptions;

o Reduce the number of substantiated incidents of abuse and neglect by
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foster/adoptive parents;
o Identify gaps in resources and attempt to facilitate the development of new

resources.

The Partners in Permanency Program will be implemented by seven (7) Permanency

Specialists who will insure that services are delivered throughout the state in a timely

manner. This is an increase from the previous grant year. More attention will be given to

the Delta area where services are quite limited. The Specialists will be located in Tupelo,

Itta Bena, Batesville, Hattiesburg, Gulfport and two (2) in Jackson.

A.

COMPONENTS

1. CRISIS INTERVENTION

a. Crisis Management Services - Families who adopt and/or foster children with
special needs sometimes find themselves in situations that appear to be beyond
their control. Resources must be in place to help families respond to crises in
order to prevent a breakdown in the placement. The Partners in Permanency staff
will continue to serve as “on-call” crisis managers and will communicate with
Mississippi Department of Human Services to coordinate appropriate and
available resources, such as intensive in-home services, mental health counseling,
medical services, and other services to alleviate the crisis. The Partners in
Permanency staff will continue to “track” the family’s progress and maintain an
open case file on the family until the crisis has passed.

b. Respite - During a family crisis in an adoptive/foster home, it can be helpful

for many family members to have a temporary separation from each other. Many
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families have indicated they would benefit from this temporary break, also known
as “respite.” Due to the overwhelming requests for respite services, Partners in
Permanency Program proposes to add a full time Respite Coordinator to facilitate
respite services to families in a more efficient, effective manner so families can
receive services quicker. The Respite Coordinator and the Permanency
Specialists will continue to train respite providers on behavioral issues and family
dynamics. Respite care providers will continue to receive certification as CPR
and First-Aid providers. The Permanency Specialists and the Coordinator will
continue to utilize a Respite Care Curriculum certified by the Department of
Mental Health through MS Families as Allies. Partners in Permanency staff will
continue to screen potential respite providers by completing the following: a child
abuse registry check, criminal history check, a reference check using no less than
three references with one of those references being their previous adoptive/foster
care social worker, and a home visit prior to approving the family as a respite
provider. Approximately 75 adoptive families have already received training to
offer respite care services to adoptive families who are in crisis.

c. Toll Free Number - In order to facilitate communication, a toll free number
will continue to be available at each of the Partners in Permanency offices in
Gulfport, Jackson, Itta Bena, Hattiesburg, Batesville and Tupelo, MS. On-call

staff will handle crisis calls on evenings and weekends

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2. COORDINATION OF RESOURCES

a. Interagency Collaboration — Partners in Permanency staff will continue to
coordinate efforts with already established interagency MAP teams across the
state in order to reduce fragmentation, decrease duplication of services, and
increase access for the adoptive/foster families to as many of the available
resources as possible. The MAP teams are sponsored by the MS Department of
Mental Health and include representatives from other state agencies, such as the
Department of Education, Department of Health, Law Enforcement, etc. The
MAP teams are a collaborative effort of consultation and coordination of
resources for families who are in crisis. The Partners in Permanency staff will
continue to act as advocates for foster/adoptive families during these MAP team
meetings. Partners in Permanency staff will continue to maintain a current
directory of community resources in all locations.

b. Information and Referral Services - Problems and challenges associated
with parenting children from the foster care system do not dissipate in a steady,
predictable fashion. They occur in a succession of achievements and setbacks over
time. Thus it is important to help foster/adoptive families by identifying resources
and referral information to offer support well beyond the initial placement of a
child. Partners in Permanency staff will continue to identify statewide resources,
such as intensive in-home services, crisis intervention, educational services, legal
services, independent living services, psychological and psychiatric services, etc.

for families who have adopted and/or fostered children with special needs.
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Partners in Permanency staff will continue to serve as a coordinator and link to
these services to prevent duplication and to assure the family is receiving the
services they need. Specifically, Partners in Permanency staff has and will
continue to establish linkages on behalf of the families with Youth Villages and
Mississippi Children’s Home Services for intensive in-home services. The office
in Tupelo is shared by the Partners in Permanency Specialists, Adoption and
Therapeutic Foster Care staff and PREPARE Independent Living Specialists. The
office in Hattiesburg is also shared by the Partners in Permanency Specialist,
Adoption and PREPARE Independent Living Specialist. It is proposed that the
office in Batesville will be shared with the PREPARE Independent Living
Specialist.
3. TRAINING
a. Adoption Specific Parent Education — The support groups sponsored by
Partners in Permanency will continue to offer MDHS approved continuing
education hours on various topics to educate parents. Topics that continue to
be of importance to the families and their community partners include, but are
not limited to, the following:
1. Obtaining appropriate educational services
2. First Aid/CPR

3. Child development and adolescent issues

-

Separation and attachment

5. Trauma
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6. Grief and loss

7. Abstinence Education

8. Fetal Alcohol Spectrum Disorder

9. Emotional/behavioral disorders

10. Substance abuse issues

11. Independent living preparation and financial services for higher

education

These educational hours will continue to be obtained through programs presented
by the Permanency Specialists and/or other approved professionals. Permanency
Specialists will continue to meet with families and MDHS in the target areas to
determine training needs. Training shall be developed at a level and format that
meets the needs of the adoptive/foster families. Training will continue to be
accessible in the target areas and will be culturally sensitive and coordinate with
any existing training by other resources in the area.
Permanency Specialists will continue to collaborate with their Family Advisory
Committees (FAC) in each area to assist in determining training needs. The
Family Advisory Committee is comprised of the following: a Partners in
Permanency staff member, 2-3 adoptive/foster parents and a MDHS staff member.
b. Parent Training Conference Scholarships - For the past six years, Harden
House Adoption Program has been active in the establishment of an Adoption
Track at the Lookin’ to the Future Conference with speakers who are specialists in

the entire continuum of adoption services. This intensive training event will be

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held during the summer of 2009. Permanency Partners Program again proposes to
sponsor scholarships for registration, mileage and lodging for thirty (35)
adoptive/foster parents to the Lookin’ to the Future/MS Child Welfare
Conference. This year’s conference includes workshops on topics such as:
Psychotropic Medications, Independent Living, Law Related Education, Effective
Parenting Practices, School Refusal Behaviors, Understanding & Managing Stress
for Children & Adolescents. The Partners in Permanency staff will also attend the
Lookin’ to the Future/MS Child Welfare Conference as well.

c. Intensive Family Training Conference - Partners in Permanency proposes to
offer adoptive/foster families the opportunity to come together during the summer
of 2009 for an intensive training experience. Families receive MDHS approved
training hours to contribute to their licensing requirements. Not just the parents,
but also the youth, are able to network with each other during the weekend
conference. Not only training workshops for the parents, but also therapeutic
activities for the whole family will be included for the weekend.

4, SUPPORT

a. Family Support Groups - Permanency Specialists will continue to serve as
resources to the support groups already active across the state as well as assist
with the establishment of additional support groups as needed. Support groups
are important because they help strengthen the adoption/foster care process, bring
families and children closer, and encourage activities that are psycho-educational

and strength-based. The groups are co-led by an adoptive/foster parent and staff

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of the Partners in Permanency Program, with a representative of MDHS included
as an active member. The majority of the support groups will meet at least
quarterly. Teen support groups will be developed as needed. The exception will
be during the summer months and other months when there are statewide
adoption/foster care activities planned, such as the adoption picnic and family
training weekends. There will be planned activities, such as educational training
opportunities, as well as opportunities for informal sharing. The foster/adoptive
family support groups will also serve to promote advocacy through networking
with each other and providing information and referral services to empower
families in navigating and accessing community, educational, mental health,
medical services, etc.

b. Foster/Adoptive Family Reception — Partners in Permanency proposes once
again to host a reception in honor of the adoptive/foster parents and their children
at the Lookin’ to the Future/MS Child Welfare Conference in Summer 2009. This
will give the foster and adoptive parents an opportunity to network with other
foster and adoptive parents at the conference to prevent isolation during the
conference. The reception will offer encouragement and appreciation to the
parents for providing excellent care to Mississippi’s children. It will also serve as
a means of recruitment of other foster and adoptive parents. Parents will also
have the opportunity to meet executive and administrative staff of MDHS,
SCSCY and Harden House Adoption Program.

c. Quarterly Newsletter - Partners in Permanency Program will continue to

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publish and distribute a quarterly newsletter (see attachment for an example) in
order to assist with public awareness for adoption services provided by MDHS
and Harden House Adoption Program, as well as other private agencies across the
state. The newsletter will continue to be distributed to families who have adopted
and/or fostered children with special needs and to the Mississippi Department of
Human Services licensure staff. It will contain information on scheduled training
events, community events, support group meetings, and current events related to
adoption and foster care, both nationally and locally. The newsletter will contain
an MDHS recruitment section to assist in the recruitment of adoptive homes for
children who are awaiting placement. Partners in Permanency will publish four
newsletters during this contract period.

d. Web Site - Harden House Adoption Program has developed a web site for
adoption information. Partners in Permanency information will be available on
this site. Any links to the webpage deemed resourceful for families will be added
regularly. Partners in Permanency staff will assist in maintaining this webpage.
e. Lending Library - Southern Christian Services for Children and Youth, Inc.
offers a library which includes materials on adoption, child development, behavior
management, law related education, independent living information, and other
topics related to youth and family education. In addition to this extensive
collection, Harden House Adoption Program has also purchased additional printed
materials and multimedia materials. There is a large lending library available at

the Partners in Permanency office in Tupelo, MS. These materials are catalogued

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upon arrival and listed in the lending library directory available on the website, as
well as the MDHS offices and Family Resource Centers. Partners in Permanency
Program proposes once again to add new materials to the library and maintain an
updated catalogue listing. Families are able to request materials from the lending
library via phone, e-mail, or mail. Catalogues of resources in the library are
available at the support group meetings and the families are encouraged to utilize
these valuable resources. Books, videos, cassettes, etc. can be checked out and
distributed to adoptive/foster families who return them when finished in postage
paid envelopes provided by Partners in Permanency Program. This service has
proven to be quite valuable to families who are researching information about

their children’s behaviors.
B. TARGET POPULATION

The targeted population of the grant will be families who have adopted and/or
fostered children with special needs from MDHS, or any public or private agency
who are in need of prevention and/or crisis related services. Tkse services will be
available as needed by foster/adoptive families prior to and after legalization of the
adoption at various times throughout a child’s development, until the child reaches the age
of majority. Services will continue to be avaliable statewide and will be accessible to meet
the variety of needs presented by adoptive/foster parents and their children, including but
not restricted to, limited Englishspeaking families, families in urban as well as rural and
isolated geographical areas of Mississippi, families with limited economic and/or
transportation resources, families with ADA limitations, and other special circumstances

that may be a barrier to receiving permanency services. Partners in Permanency will

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partner with the local community leaders to develop resources needed by foster/adoptive
families. In developing training curriculum and leading support groups, specific attention

will be given to trauma, grief and loss issues.

In 2007-2008, there were approximately 2,600 post finalization clients who have
adopted Mississippi’s children with special needs on the adoption assistance
ledger and foster families on the foster board roster. Partners in Permanency
proposes to serve these families statewide with permanency services. In the 2003-

2004 grant period, there were approximately 1,500 post finalization clients served

as of the end of September 2004. In the 2004-2005 grant period, ASAP served

1,830 clients. In the 2006-2007 grant period, Partners in Permanency served

6,000 clients. As of the submission of this grant, 4,500 clients have been served

with many more expected by the end of July 2007. Partners in Permanency

proposes to serve 4,000 clients in the August 1, 2008 through July 31, 2009

grant period.

C. PUBLIC AWARENESS:
The Partners in Permanency Program will be marketed primarily to
foster/adoptive parents, MDHS Adoption staff, Licensure staff and county social
work staff. The program will be marketed through the use of an informational
brochure, quarterly newsletter and agency displays at local conferences. The
program will continue to be presented regularly at MDHS regional staff meetings,

at regular support group meetings and at PATH training sessions for pre-

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adoptive/foster parents. The Partners in Permanency Program will be marketed
further through the use of media kits that are mailed to media outlets statewide
and include brochures, press releases, program descriptions and locations of
program sites, and any other interesting facts related to the Partners in
Permanency Program. The SCSCY agency annual report is also a productive and
highly effective marketing tool. The SCSCY annual report is mailed to donors
and is often distributed at special events, conferences, meetings, retreats, and
media events and is used often in the proposals for funding. The Agency and its
services are often highly visible and receive positive recognition through the local
NBC affiliate in Jackson, WLBT-TV. Anchor and nationally known advocate for
adoption Maggie Wade works tirelessly to support adoption of children with
special needs and post adoption services. She will assist in any means possible to
market the services for permanency for Mississippi’s children.

D. EVALUATION:
Client satisfaction will continue to be measured through the use of a client
satisfaction questionnaire that will be administered to foster/adoptive families on
a quarterly basis by the Partners in Permanency services. These questionnaires
will be administered in a manner that will allow confidentiality for the client.
Training evaluations will be conducted at the end of each training event
involving foster/adoptive parents and any other professionals to determine the
clients’ level of usefulness of the information shared at the training event.

This material will be shared with the SCSCY staff, Board of Directors and the

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Department of Human Services on a monthly basis. The annual evaluation report
of this grant will be filed with the Mississippi Department of Human Services
immediately after the expiration of the contract period. This report will include
numerical data and narrative descriptions. Outcome measures on the following

will be included:

a. Number of permanency clients served

b. Number of clients utilizing respite services

c. Number of families trained to provide respite services

d. Number of clients utilizing the crisis management services
€. Number of quarterly newsletters distributed

f. Number of training events for foster/adoptive families

g. Number of foster/adoptive parents attending training events

h. Number of support groups held

i. Number of foster/adoptive parents attending support groups
j. Number of participants at the intensive family training conference
k. Number of resources utilized from the resource lending library

At the end of the project year, the Partners in Permanency Program will
undergo a process evaluation based on the goals, tasks and time line as indicated
in the attachment. Process evaluation activities answer questions about how the
program was intended to operate and how it actually operated. The process
evaluation of Partners in Permanency will document program activities and

program outputs, i.e., the direct products of program activities, such as the number

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of foster/adoptive parents trained on adoption specific training events, etc. An
outcome evaluation answers the question, “Does the program work?”. Outcomes
are benefits or changes for individuals participating in program activities.
Partners in Permanency is expected to result in long-term outcomes, such as
family preservation and placement stability for those foster/adoptive families who
participate in supportive services over an extended period of time. However, to
measure these long-term outcomes, the Partners in Permanency evaluation will
focus on more immediate or short-term outcomes. Specifically, a collection of
evidence of knowledge and skill enhancement of training participants will be
obtained. Satisfaction with support services including crisis management
services, respite programs, etc. will also be collected.
KEY STAFF
The Executive Director Susannah K. Cherney will insure the delivery of the services
requested. She has a Master’s Degree in Education with over 20 years experience
administering social service programs. Patricia Digby, LMSW, the Director of the
Division of Adoption and Foster Care, is responsible for supervision of the day-to-day
operations of the Adoption/Foster Care Services Division. Ms. Digby has extensive
experience and training in adoption and foster care. Ms. Digby has been employed at
Southern Christian Services for Children and Youth for 16 years. She will employ, train
and supervise the Senior Permanency Specialist and monitor program operations and
outcomes. The Senior Permanency Specialist will employ, train and supervise the six

Permanency Specialists and the Respite Coordinator. The Permanency Specialists will

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have the primary responsibility of planning, implementing, evaluating and marketing all
facets of the “Partners in Permanency Program. The Respite Coordinator will specialize
in the recruitment, training and coordinating respite services for foster/adoptive parents.
(See Attached Job Descriptions for qualifications and specific job responsibilities). The
Senior Permanency Specialist, the Permanency Specialists and the Respite Coordinator
will conduct at least a forty-hour work week. These hours may vary due to evening
training events, support groups being held after office hours, crisis situations with
families, travel, etc. The Permanency Specialists and Respite Coordinator will have a
Bachelor’s Degree in Social Work or a related field. The Senior Permanency Specialist
will have a Bachelor’s Degree in Social Work or a related field and significant experience
working with families of children with special needs or a Master’s Degree in Social Work
or arelated field. The Director of the Division of Adoption and Foster Care will spend
50% of her time on the post adoption program with the other 50% on the adoption
program and therapeutic foster care. The seven Permanency Specialists and Respite

Coordinator will spend 100% of their time on the permanency services in the grant project

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